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PREPAREDFOR:
BROWNFIELDS ANDENVIRONMENTALRESTORA
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DEPARTMENT OFTOX
               ICSUBSTANCESCONTROL
8800CALCENTER DR
               IVE,3RDFLOOR
SACRAMENTO,CALIFORNIA 95826


PREPAREDBY:
GEOCONCONSUL TANTS
                 ,INC .
3160 GOLDVALLEY DR
                 IVE,SU ITE800
RANCHOCORDOVA ,CAL IFORNIA 95742



GEOCONPRO
        JECT NO
              .S9850
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                     -14A                                        FEBRUARY2018
  Case 2:14-cv-00595-WBS-JDP Document 189-15 Filed 08/21/19 Page 3 of 179




Project No. S9850-03-14A
February, 2018

Deena Stanley
Project Manager
Department of Toxic Substances Control
8800 Cal Center Drive
Sacramento, California 95826
Subject:       SEMI-ANNUAL GROUNDWATER MONITORING REPORT – NOVEMBER 2017




                                                                     T
               WICKES FOREST INDUSTRIES
               147 “A” STREET, ELMIRA, CALIFORNIA
               CONTRACT NO. 14-T3962 A-1, WORK ORDER NO. 1-962-1.2-100164




                                                                   F
Dear Ms. Stanley:

In accordance with the above-referenced contract and work order, we have prepared this Groundwater
Monitoring Report for the November 2017 semi-annual groundwater monitoring event for former Wickes




                A
Forest Industries property (the Site) located at 147 “A” Street in Elmira, California.

We appreciate the opportunity to work with the DTSC on this project. Please let us know if you have
questions concerning this report or if we may be of further service.

Sincerely,




              R
GEOCON CONSULTANTS, INC.




             D
Rebecca Silva                                         Jim Brake, PG
Project Manager                                       Senior Geologist
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                                       IDENTIFICATION FORM

Document Title:                  Semi-Annual Groundwater Monitoring Report – November 2017
                                 Wickes Forest Industries

Site Location:                   147 “A” Street, Elmira, California

Contract No.:                    14-T3962 A-1




                                                                        T
Work Order No.:                  1-962-1.2-100164


Prepared by:                     Geocon Consultants, Inc.




                                                                      F
                                 3160 Gold Valley Drive, Suite 800
                                 Rancho Cordova, California 95742
                                 Ph: 916.852.9118

Geocon Project Number:           S9850-03-14A




                 A
Geocon Project Manager: Rebecca Silva
                        silva@geoconinc.com
                        916.852.9118




               R
Geocon Project Manager:




              D
Approval:                                           Date:   February, 2018
                 Rebecca Silva



Geocon Program Manager:



Approval:                                           Date:   February, 2018
                  Jim Brake, PG No. 5753

This document has been prepared for the California Environmental Protection Agency (CalEPA),
Department of Toxic Substances Control (DTSC). The material herein is not to be disclosed to, discussed
with, or made available to any person(s) for any reason without prior express approval of the appropriate
responsible DTSC officer.
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                                     APPROVAL FORM

Document Title:             Semi-Annual Groundwater Monitoring Report – November 2017
                            Wickes Forest Industries

Site Location:              147 “A” Street, Elmira, California

Contract No.:               14-T3962 A-1




                                                                   T
Work Order No.:             1-962-1.2-100164


Prepared by:                Geocon Consultants, Inc.
                            3160 Gold Valley Drive, Suite 800




                                                                 F
                            Rancho Cordova, California 95742
                            Ph: 916.852.9118




               A
Geocon Project Number:      S9850-03-14A


DTSC Project Manager:       Deena Stanley
                            Deena.Stanley@dtsc.ca.gov




             R
                            916.255.6583


Approval:                                      Date:
                  Deena Stanley




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                                      DISTRIBUTION LIST

Deena Stanley, Project Manager (1 hard copy, e-copy)
California Environmental Protection Agency
Department of Toxic Substances Control

Rebecca Silva and Jim Brake, Project/Technical Managers (project file)
Geocon Consultants, Inc.




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                            WICKES FOREST INDUSTRIES
                       147 “A” STREET, ELMIRA, CALIFORNIA

                        LIST OF ACRONYMS AND ABBREVIATIONS

APN               Assessor’s Parcel Number
CLS               California Laboratory Services
CVRWQCB           Central Valley Regional Water Quality Control Board




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R                 coefficient of determination
COC               contaminant of concern
Cr(VI)            hexavalent chromium




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DTSC              Department of Toxic Substances Control
EPA               Environmental Protection Agency
GWETS             groundwater extraction and treatment system
LCS/LCSD          laboratory control sample/laboratory control sample duplicate




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MCL               Maximum Contaminant Level
MS/MSD            matrix spike/matrix spike duplicate
µg/l              micrograms per liter




              R
PG                Professional Geologist
QC                quality control
RAO               remedial action objective
RAP               remedial action plan




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RAW               removal action workplan
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D.   Trend Analyses




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                                              1.0       INTRODUCTION

Pursuant to the California Department of Toxic Substances Control (DTSC) Agreement Number 14-T3962
A-1, Work Order No. 1-962-1.2-100164, Geocon Consultants, Inc. (Geocon) performed groundwater
monitoring at the former Wickes Forest Industries facility (the Site) in Elmira, California (Figure 1). This
report documents the methods and procedures and presents the results of the November 2017 groundwater
monitoring event. The work was conducted in accordance with the Sampling and Analysis Plan (SAP)
(Geocon, 2015).




                                                                                T
1.1    Site Name

The Site is a former wood-treatment facility, which the DTSC refers to as Wickes Forest Industries. Other
names by which the Site has been identified include: Collins & Aikman Products Company, Inc. (by the




                                                                              F
Central Valley Regional Water Quality Control Board [CVRWQCB]) and Pacific Wood Preserving (by the
United States Environmental Protection Agency [EPA]). Throughout this report, the property is referred to
as “the Site.”




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1.2    Site Location and Description

The Site is located in an area of low topographic relief near the intersection of A Street and Holdener
Road in Elmira, California. The Site is bordered by agricultural land to the east and north, a commercial




                  R
property to the west, and residential property to the south, beyond A Street. An alternative school is
located less than 200 feet south of the Site. The Solano County Assessor’s Parcel Numbers (APNs)
associated with this Site are: 142-010-013, 142-010-014, and 142-042-010.




                 D
1.3    Responsible Agency

The DTSC is the lead regulatory agency overseeing this investigation.

1.4    Project Contact Information

The title/responsibility, name, phone number, and email address of personnel associated with the
groundwater monitoring events are summarized in the following table:

                                                                         Phone
Agency/Company                     Name         Title/Responsibility                       Email Address
                                                                         Number

        DTSC                Deena Stanley            Project Manager    916.255.6583   Deena.Stanley@dtsc.ca.gov
                                                     Program/Quality
        Geocon                    Jim Brake                             916.852.9118     brake@geoconinc.com
                                                    Assurance Manager
                                                    Project/Technical
        Geocon               Rebecca Silva                              916.852.9118     silva@geoconinc.com
                                                        Manager
California Laboratory
                             Scott Furnas            Project Manager    800.638.7301    scottf@californialab.com
       Services




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                                              2.0       BACKGROUND

This section summarizes the site conditions including geologic and hydrogeologic conditions, site
history, previous investigations and regulatory involvement based on information provided by the
DTSC.

2.1      Background Information

The Site is a former wood treatment facility and the site contaminants of concern (COCs) are arsenic




                                                                         T
and hexavalent chromium (Cr[VI]).

Historical site operations included lumber treatment in retort vessels using wood preservatives that




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contained arsenic, chromium, and copper. Previous investigations have shown that site soil and
groundwater have been impacted with these metals and that impacted groundwater has migrated offsite
to the south and east. Site operations ceased in August 1982.




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The DTSC and CVRWQCB have actively overseen site remediation since 1982. In September 1983,
the DTSC and CVRWQCB approved a remedial action plan (RAP) that addressed soil and
groundwater contamination issues associated with the southern portion of the Site. A portion of the Site




                 R
was then capped with concrete. In February 1994, a second RAP was approved that addressed soil
contamination in the northern portion of the Site. During implementation of this RAP, the entire Site
was capped with asphalt and concrete.




                D
In 1983 and 1984, a groundwater extraction and treatment system (GWETS), consisting of a
13-foot-deep, 200-foot-long extraction trench and horizontal recovery well, was installed at the Site to
extract impacted groundwater. Groundwater was pumped to the surface and treated in an onsite, ion-
exchange treatment system.

In 1992, seven additional extraction wells were added to the GWETS, and the ion-exchange treatment
system was replaced with a more effective, electrochemical treatment system. Metals concentrations in
shallow groundwater were significantly reduced by this treatment. However, COC concentrations
began to stabilize in 1998 and showed little change over the last 3 years of treatment between 2002 and
2005. The GWETS was shut down in August 2005 due to the bankruptcy of the responsible party. The
inoperable GWETS was dismantled in 2011.

In April 2008, URS Corporation (URS) conducted a soil investigation in the vicinity of former well E-
6 (URS, 2008). URS concluded that the shallow soils in the northeastern and southwestern portions of
the building covering the former process area were a continuing source of arsenic and Cr(VI) to
groundwater, particularly during periods of high groundwater elevations. A Removal Action Workplan


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(RAW) was prepared to address COCs in soil and groundwater at concentrations that exceeded
established cleanup goals (URS, 2009b). Following approval, a soil removal action was implemented
in October 2011. The soil removal action required that wells E-6 and E-30 be destroyed. Replacement
wells E-6A, E-6B, and E-30A were installed in March 2012. As described in Section 4.0, arsenic and
Cr(VI) concentrations in groundwater samples collected from source removal area wells E-6A and E-
6B are less now than those reported for groundwater in the same area prior to implementation of the
removal action.




                                                                           T
Based on groundwater monitoring results, there are two primary plumes of Cr(VI)-impacted
groundwater beneath the Site. The highest Cr(VI) concentrations (greater than 100 micrograms per liter
[µg/L]) are detected in groundwater samples from the plume beneath the southern portion of the Site
which extends south beneath A Street. The other primary area of Cr(VI)-impacted groundwater is




                                                                         F
beneath the northeastern portion of the Site and extends south beneath Holdener Road, beyond the site
boundaries. Cr(VI) concentrations are lower in this plume. Cr(VI)-impacted groundwater has also been
detected near well E-1.




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2.2       Geological and Hydrogeological Information

The Site is near the western edge of the southern Sacramento Valley, where it abuts the California




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Coast Ranges. Alamo Creek flows east, approximately 2,000 feet south of the Site. Shallow soils
beneath the Site consist of 1 to 3 feet of engineered fill composed of silt, sand, and gravel, underlain by
silty clay.




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Groundwater occurs under semi-confined conditions and is first encountered at depths of 1 to 6 feet,
depending on seasonal fluctuation. Depth to groundwater beneath the former wood treatment area has
ranged from approximately 1 to 6 feet. In other areas of the Site, depth to groundwater fluctuates
between 1 and 4 feet depending on precipitation, seasonal recharge, and groundwater pumping from
nearby irrigation wells. The prevailing groundwater flow direction beneath the Site is toward the
southeast. The groundwater flow velocity is estimated to be as high as 50 feet per year; however, COC
migration is much slower due to the general affinity of metals to bind with soil particles. Because of its
higher water solubility, Cr(VI) is more mobile than arsenic and, thus, has spread over a larger area.

2.3       Groundwater Monitoring Program

The objectives of the groundwater monitoring program are:


         For the southern portion of the Site, monitor the effectiveness of the 2011 soil removal action
          in reducing contaminant mass, and to monitor migration of contaminants toward offsite
          irrigation wells and other potential downgradient receptors.




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        For the northern portion of the Site, ensure that the cap continues to be effective in reducing
         the migration of contaminants in groundwater toward offsite irrigation wells and other
         potential receptors.

The current monitoring network at the Site consists of 43 monitoring wells, three private irrigation
wells (RW, RH-A, and MP-2), and four non-operating groundwater extraction wells (EX, EX-2, E-25,
and E-34) (Figure 2). Twenty-two of the monitoring wells and two extraction wells are on the Site. The
remaining wells are in the immediate vicinity. Thirty-eight monitoring wells are 25 feet deep or
shallower and are considered “shallow zone” wells. Five monitoring wells have screen intervals




                                                                         T
ranging in depth from 32 feet to 45.5 feet and are considered to be within the “intermediate zone,” and
four monitoring wells are screened at depths below 45 feet and are within the “deep zone.” Table 1
presents well construction details for each of the existing site wells.




                                                                       F
Ten monitoring wells and five extraction wells that were no longer providing useful data were
decommissioned in August 2013, with DTSC concurrence (URS, 2013). Twelve of the




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decommissioned wells were in the undeveloped lot northeast (cross-gradient) of the Site. Additionally,
sometime prior to 2009, monitoring wells E-38 and E-39 (situated along the south side of B Street)
were paved over with asphalt by a neighboring property owner. URS searched for the monitoring well
lids with a metal detector in February 2014, but could not locate the wells (URS, 2014a). We did not




                 R
locate these wells during this sampling event.




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                                   3.0       METHODS AND PROCEDURES

This section summarizes groundwater monitoring methods and procedures utilized during this monitoring
event. More detailed explanations of field methods are provided in the Sampling and Analysis Plan
(Geocon, 2015).

3.1      Groundwater Elevation Monitoring

We measured depth to groundwater in 43 site wells (42 monitoring and 1 extraction wells) on




                                                                       T
November 14, 2017. Depths to groundwater were measured from the top of the northern side of each
well casing. Depth-to-groundwater measurements were then subtracted from the most recently
surveyed top-of-casing elevations (Table 1) to calculate the groundwater elevation for each monitoring




                                                                     F
well.

3.2      Groundwater Sampling




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On November 14, 2017, we purged water from irrigation wells RW, RH-A, and MP-2 by turning on
their respective spigots and allowing water to flow for approximately 15 minutes. After 15 minutes, we
collected groundwater samples directly into laboratory-provided sample containers after filtering with
0.45-micron disposable filters.




                 R
On November 16 and 20, 2017, we purged approximately 1 to 3 well volumes of water
(3.5 to 70 gallons) from 29 of the 43 monitoring and extraction wells using a portable, 12-volt
submersible pump or a disposable bailer. We decontaminated the pump before and after each use by




                D
washing in an Alconox™ solution followed by fresh and distilled water rinses. During well purging,
we monitored the pH, electrical conductivity and temperature of the groundwater. This information is
included on the Monitoring Well Sampling Data Sheets in Appendix A. Following purging, we
collected groundwater samples from the wells using disposable, pressurized bailers fitted with 0.45-
micron disposable filters and decanted them into laboratory-provided sample containers. Each sample
was sealed, labeled, placed in a chilled cooler and subsequently transported to the laboratory using
chain-of-custody protocol.

3.3      Stormwater Sampling

On November 16, 2017, we collected stormwater samples from two locations along A Street (R-1 and R-
2), two locations along Holdener Road (R-3 and R-4), and one location near the northern corner of the
Site (R-5). Samples R-1 and R-5 were collected directly from drainage ditch along the site boundary.
Samples R-2 through R-4 were collected from drainage pipes that lead from the Site into the drainage
ditch. The approximate sample locations are depicted on Figure 3.




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We filtered stormwater samples R-1 through R-5 in the field using 0.45-micron disposable filters, and
decanted them into laboratory-provided containers for analysis. The samples were sealed, labeled,
stored on ice, and transported to the analytical laboratory under chain-of-custody protocol.

3.3    Sample Analysis

We submitted 36 groundwater samples (including four duplicate samples) and five stormwater samples
to California Laboratory Services (CLS) of Rancho Cordova, California, for dissolved Cr(VI) analysis
by EPA Method 218.6 and 26 groundwater samples (including three duplicate samples) and five




                                                                        T
stormwater samples for dissolved arsenic analysis by EPA Method 200.8. CLS analyzed the samples
and results were reported under a standard 5-business day turnaround time.

3.4      Management of Investigation-Derived Waste




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We placed investigation-derived waste (e.g., used bailers and filters) in plastic garbage bags for
disposal at the local sanitary landfill. We placed the purge water generated during this sampling event




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in nine labeled 55-gallon drums that were temporarily stored onsite. In March 2018 we will transport
the purge water to Inviro-tec, a licensed disposal facility in Lincoln, California, where it will be
disposed of as non-hazardous waste.




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                                                  4.0        RESULTS

This section presents the results of groundwater monitoring including depth to groundwater
measurements and laboratory analysis results for the groundwater samples collected during the
monitoring event. Also presented is an evaluation of the quality of the analytical data reported by the
laboratory. Table 1 presents groundwater elevation data, Table 2 the laboratory analysis results for this
event, and Table 3 the historical laboratory analysis data for Cr(VI) and arsenic in groundwater
samples to date.




                                                                             T
4.1      Groundwater Elevations and Gradients

Figure 4 shows groundwater elevation contours for the shallow zone. These contours indicate that
groundwater flow in the shallow zone was toward the southeast at an average gradient of




                                                                           F
approximately 0.002. The inferred flow direction and gradient are similar to those of previous
monitoring events (Geocon, 2015 through 2017; URS, 2013; 2014a; 2014b; 2014c; 2014d). A flow
direction and gradient rose diagram depicting historical flow directions is included on Figure 4.




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4.2      Data Quality Analysis

Upon receipt of the analytical reports (Appendix B), we reviewed the data as described in Section 10.0 of
the SAP (Geocon, 2015). We determined the data quality to be acceptable for reporting purposes. Appendix




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C includes the complete data quality assessment for this sampling event.

4.3      Dissolved Hexavalent Chromium




                D
4.3.1    Analytical Results

As shown on Table 2 and Figure 5, dissolved Cr(VI) was detected in groundwater samples collected
from 21 of the 29 monitoring wells at concentrations ranging from 1.4 to 880 µg/l. The eight wells
with groundwater samples having reported concentrations of dissolved Cr(VI) greater than the remedial
action objective (RAO) of 10 µg/l are listed in the table below:


                                                    Hydraulic Zone                   Cr(VI)
               Well ID
                                           (Shallow; Intermediate; Deep)            (in µg/l)
                  E-1                                       Shallow                    12
                  E-5                                       Shallow                    20
                 E-6A                                       Shallow                   100
                 E-6B                                       Shallow                   880
             E-18/E-18A                                     Shallow                    14
                 E-28                                       Shallow                    66
                E-30A                                       Shallow                   440
                 E-44                                       Shallow                    11
                                      RAO                                              10



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The highest Cr(VI) concentrations were reported for groundwater samples collected from wells within
or southeast (downgradient) of the former wood processing area, where the soil removal action was
completed in October 2011. As shown on Figure 5, the shallow Cr(VI) plume with concentrations
greater than the RAO is still present in the residential area south of A Street.

Cr(VI) was detected in the groundwater samples collected from irrigation wells MP-2, RH-A, and RW
at respective concentrations of 2.4, 4.1, and 3.4 µg/l, less than the RAO of 10 µg/l (Figure 5).

4.3.2    Concentration Trend Analysis




                                                                            T
We used laboratory analysis results for groundwater samples from wells E-6A, E-20, E-21, E-25, E-28,
E-30A, E-31, and E-32 to assess recent trends in Cr(VI) concentrations since the soil removal action in




                                                                          F
the former wood preserving area. Where the historical concentrations suggest trend fluctuations, a
polynomial trend line was plotted. Where the data appears to follow a linear pattern or a random scatter
pattern, a linear trend line was plotted to fit the data. Cr(VI) concentration trend lines for each of these
wells, including the associated coefficient of determination (R2 values) for the data set plotted, are in




                   A
Appendix D. The lines with the higher R2 values indicate a more reliable trend for prediction of future
concentrations. The concentration trends show the following:




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        Monitoring well E-6A is located underneath the site building where the removal action was
         conducted in October 2011. The analytical results for groundwater samples collected from E-6A
         since April 2012 indicate that Cr(VI) concentrations decreased in 2012 and have remained at lower
         concentrations since then.
        Cr(VI) concentrations in samples from wells E-20, E-21, and E-25 have increased slightly




                D
         following the 2011 removal action. The increase in Cr(VI) concentrations after the 2011 removal
         action may reflect contaminants released to groundwater from a change in redox potential and
         overall geochemistry during and after the soil removal activities in the former wood preserving
         area. Cr(VI) concentrations in the groundwater samples collected from E-20 since April 2012 and
         from E-25 since June 2012 indicate decreasing trends. Cr(VI) concentrations in the samples
         collected from E-21 since April 2012 indicate a slightly decreasing trend. The correlation of the
         decreasing trend for E-21 is poor, but will likely improve as more data is collected. Cr(VI) has not
         been reported at a concentration greater than 10 µg/l in the samples from well E-21 since June
         2015.
        Cr(VI) concentrations in groundwater samples collected from well E-28 appear to be slightly
         decreasing overall, although concentrations increased over the last year.
        Cr(VI) concentrations for groundwater samples collected from well E-30A since April 2012
         also indicate a slightly decreasing trend. There was a spike in Cr(VI) concentration in June
         2012, eight months after the soil removal action was conducted, but concentrations have
         remained lower since then. The correlation of this decreasing trend is poor, but will likely
         improve as more data is collected.




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           Cr(VI) concentrations for groundwater samples collected from wells E-31 and E-32 since 2012
            appear to be decreasing (slightly decreasing for E-32). The correlation of this decreasing trend is
            poor, but will likely improve as more data is collected. These wells are located directly
            downgradient from the former wood processing area.

4.4         Dissolved Arsenic

4.4.1       Analytical Results

As shown on Table 2 and Figure 6, arsenic was detected in groundwater samples collected from 18 of
the 20 monitoring wells at concentrations ranging from 2.3 to 52 µg/l. Arsenic concentrations reported




                                                                                      T
for samples from E-6A (14 µg/l) and E-28 (52 µg/l) exceed the MCL of 10 µg/l. Figure 6 shows
isoconcentration contours for arsenic concentrations in shallow groundwater. The lateral extent of
arsenic impacts in the source area (near wells E-6A and E-6B) has decreased significantly as a result of




                                                                                    F
the soil removal conducted in October 2011. Arsenic has never been reported at concentrations
exceeding 5 µg/L for samples from well E-23, located 40 feet downgradient of the former wood
treatment area. Arsenic mobility in groundwater onsite is expected to be limited due to arsenic’s low




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solubility in water and the low conductivity of the onsite aquifer.

Arsenic was detected in the groundwater samples collected from irrigation wells RH-A and RW at
respective concentrations of 2.0 and 2.3 µg/l, less than the MCL of 10 µg/l (Figure 6).




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4.4.2       Concentration Trend Analysis

We analyzed arsenic concentration trends for samples from wells E-6A and E-28 to assess recent trends in




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arsenic concentrations near the former wood preserving area, as groundwater samples from these two wells
have concentrations greater than the MCL of 10 µg/l. Arsenic concentrations and linear trend lines for each
of these wells including the associated R2 values are in Appendix D. The trend analyses suggest a slight
increasing trend for arsenic concentrations in samples from well E-6A and a decreasing trend for those from
well E-28.

4.4         Surface Water Analytical Results

The table below, and Figure 3, summarizes the dissolved arsenic and Cr(VI) concentrations for the
stormwater samples collected during this event. The laboratory report and chain-of-custody documentation
are in Attachment A.

                                                          Dissolved Cr(VI)          Dissolved Arsenic
                     Sample ID
                                                               (µg/l)                     (µg/l)
                          R-1                                   <1.0                        7.6
                          R-2                                    7.0                        29
                          R-3                                   <1.0                       <2.0
                          R-4                                   <1.0                       <2.0
                          R-5                                   <1.0                        11
          Notes: < = not detected at concentrations exceeding the reporting limit



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4.5      Field Variances

A mobile home was parked on top of well E-19 therefore this well was not accessible for sampling.




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                          5.0       CONCLUSIONS AND RECOMMENDATIONS

Goundwater monitoring has shown that the highest detected Cr(VI) concentrations (greater than 100
µg/L) are in groundwater beneath the southern portion of the Site and extend south beneath A Street.
We recommend continuation of the quarterly groundwater monitoring program to evaluate seasonal
trends in groundwater elevation and contaminant concentrations in the vicinity of the former process
area.




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Dissolved Cr(VI) was reported for stormwater sample R-2 at a concentration of 7.0 µg/l. Dissolved arsenic
was reported for three of the stormwater samples at concentrations ranging from 7.6 to 29 µg/l. Previously
reported dissolved Cr(VI) concentrations for stormwater samples collected at these locations in March 2015




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and February 2017 ranged from 0.55 to 5.0 µg/l, and previously reported dissolved arsenic concentrations
ranged from 2.0 to 19 µg/l.


The next groundwater monitoring event is a quarterly event and is scheduled for March 2018.




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Additional stormwater monitoring events are not currently scheduled.




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                                         6.0      REPORT LIMITATIONS

This report was prepared for the DTSC. Geocon-authorized users of this Report are limited to the
DTSC. Individuals or organizations deemed appropriate by the DTSC (including, but not necessarily
limited to other regulatory agencies, prospective real estate brokers and buyers of all or parts of the Site
and their counsel, and/or prospective lending institutions) may utilize the report for informational
purposes only.




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Users of this report should understand that this monitoring event was not a comprehensive
characterization of the Site. Field activities were limited to the specified COCs for this project with
respect to the specific areas of potential concern identified in this report. The potential exists that the




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areas of potential concern identified in this report have been impacted by other COCs or that other
areas of the Site have been impacted by the same or other COCs at concentrations that could require
additional investigation to characterize or mitigate.




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We do not guarantee or warranty, either express or implied, that there is no environmental, health, or
financial risk associated with the specific areas identified in this report, other areas of the Site, or the
Site as a whole. Users of this report must evaluate the risk of reliance upon the information herein and




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assume that risk (if any). Geocon is not responsible for unfavorable results due to reliance on
information provided in this report.

Information herein with respect to the condition of the specific areas associated with this project is




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valid only as of the dates of our field activities. Changes in site conditions not brought to our attention
between or subsequent to those dates (if any) could result in the need for additional characterization
investigation and/or mitigation activities.

Information in this report and our conclusions and recommendations are based on our site observations,
analytical results and associated quality control data reported for the groundwater samples, our
experience with similar sites and projects, and site characterization information reported by others
based on their investigations. We do not certify or guarantee that the information obtained and reported
by others is accurate or suitable for the intended purpose.

The authors of this report declare that, to the best of their knowledge, the information provided herein
is truthful and accurate, notwithstanding unknown incidental errors or omissions that would not
materially impact or change results of this project or our conclusions. We strived to conduct activities
for this project in accordance with the standard level of care in the local geographic area at the time the
activities were rendered.




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                                                                 TABLE 1
                                     GROUNDWATER LEVEL MEASUREMENTS - NOVEMBER 2017
                                               WICKES FOREST INDUSTRIES
                                               147 "A" STREET, ELMIRA, CALIFORNIA
                                    CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                             WELL              SCREEN            SCREEN                           TOC        DEPTH TO        WATER
     WELL                                                                   HYDRAULIC
                                                                 LENGTH                       ELEVATION        WATER       ELEVATION
              Depth
 IDENTIFICATION      Diameter     Top                Bottom                   ZONE
                                                                   (feet)                       (feet msl)   (feet BTOC)     (feet msl)
              (feet)  (inches) (feet bgs)           (feet bgs)
GROUNDWATER MONITORING WELLS
     E-1        16        2         6                   16         10             S              68.99          6.73          62.26
     E-2        16        2         6                   16         10             S              69.76          7.16          62.60
     E-3        16        2         6                   16         10             S              68.50          5.50          63.00
     E-4        16        2         6                   16         10             S              69.56          6.38          63.18
     E-5        16        2         6                   16         10             S              68.96          5.67          63.29
     E-6                                                          Destroyed in October 2011
    E-6A       15.5       2         5                   15         10             S               NM            6.51            --
    E-6B       15.5       2         5                   15         10             S               NM            6.42            --
     E-7        16        2         6                   16         10             S              70.47          7.09          63.38
     E-15       19        2         9                   19         10             S              70.93          7.52          63.41
     E-16                                                         Destroyed in August 2013
     E-17       21        2        11                   21         10             S              68.71          5.95          62.76
    E-18A       22        2        10                   25         15             S              67.87          5.43          62.44
     E-19       25        2        10                   25         15             S              68.47          NM              --
     E-20       25        2        10                   25         15             S              68.28          5.07          63.21
     E-21       25        2        10                   25         15             S              68.16          4.91          63.25
     E-22       25        2        10                   25         15             S              67.88          4.75          63.13
     E-23       25        2        10                   25         15             S              68.13          4.90          63.23
     E-26                                                         Destroyed in August 2013
     E-27                                                         Destroyed in August 2013
     E-28      13.5       2         3                   13         10             S              71.34          8.10          63.24
     E-29       24        2        16                   21          5             S              68.10          5.04          63.06
     E-30                                                         Destroyed in October 2011
    E-30A      15.5       2         5                  15          10             S               NM            6.14            --
     E-31       23        5       17.5                22.5          5             S              68.12          5.15          62.97
    E-32        42       5         32                  42          10             I              68.22          5.28          62.94
    E-33        56       2         52                  56           4             D              68.00          5.05          62.95
    E-35        59       5       46.25               56.25         10             D              67.57          4.95          62.62
    E-36        43       5         38                  43           5             I              67.68          4.60          63.08
    E-37        55       5        49.5                54.5          5             D              67.54          4.38          63.16
     E-38      18.5       2        8.5                18.5         10             S              67.71          NM              --
     E-39       18        2         8                  18          10             S              67.24          NM              --
     E-40       18        2         8                  18          10             S              66.77          4.65          62.12
     E-41       24        2         9                  24          15             S              68.05          5.14          62.91
     E-42       19        2         9                  19          10             S              69.23          6.74          62.49
     E-43       19        2         9                  19          10             S              68.72          5.57          63.15
     E-44       19        2         9                  19          10             S              68.92          5.97          62.95
     E-45       20        2        10                  20          10             S              68.63          5.42          63.21
     E-46       19        2         9                  19          10             S              68.97          6.29          62.68
     E-47       19        2         9                  19          10             S              68.45          5.65          62.80
     E-48                                                         Destroyed in August 2013
     E-49      18.5       2        8.5                18.5         10             S              68.92          5.90          63.02
    E-50        48       2        40.5                45.5          5             I              67.67          4.82          62.85
     E-51      18.5       2         8                  18          10             S              68.51          5.90          62.61
     E-52                                                         Destroyed in August 2013
     E-53                                                         Destroyed in August 2013
     E-54                                                         Destroyed in August 2013
    E-55        45       2        39.5                44.5          5             I              68.04          5.55          62.49
     E-56                                                         Destroyed in August 2013
     E-57       20        4        10                   20         10             S              68.07          5.53          62.54
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                                                                        TABLE 1
                                       GROUNDWATER LEVEL MEASUREMENTS - NOVEMBER 2017
                                                 WICKES FOREST INDUSTRIES
                                                    147 "A" STREET, ELMIRA, CALIFORNIA
                                    CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                             WELL                  SCREEN               SCREEN                           TOC        DEPTH TO         WATER
     WELL                                                                          HYDRAULIC
                                                                        LENGTH                       ELEVATION        WATER        ELEVATION
 IDENTIFICATION         Depth     Diameter       Top        Bottom                   ZONE
                                                                          (feet)                       (feet msl)   (feet BTOC)      (feet msl)
                        (feet)    (inches)    (feet bgs)   (feet bgs)
     E-58                                                                 Destroyed in August 2013
     E-59         20       2                     10           20           10            S              69.57            6.58         62.99
     E-60                                                                 Destroyed in August 2013
     E-61         64      2                      58           64           6             D              69.94           4.95          64.99
     E-62         20       2                     10           20           10            S              66.64           4.41          62.23
EXTRACTION WELLS
      EX          15       4                     5            15           10             S             69.61            NM             --
     EX-2         24       5                    14.5         24.5          10             S             68.05            5.04         63.01
     EX-3                                                                 Destroyed in August 2013
     EX-4                                                                 Destroyed in August 2013
     EX-5                                                                 Destroyed in August 2013
     EX-6                                                                 Destroyed in August 2013
     EX-7                                                                 Destroyed in August 2013
     E-25         40      6                      5            35           30            S/I            68.57           5.45          63.12
     E-34         25       5                    9.25         24.25         15             S             67.42           4.30          63.12
DOMESTIC IRRIGATION WELLS
     RH-A         ---     ---                    ---          ---          ---           ---              ---             ---           ---
     MP-2         ---     ---                    ---          ---          ---           ---              ---             ---           ---
      RW          ---     ---                    ---          ---          ---           ---              ---             ---           ---

Notes:
Construction information not available for domestic irrigation wells, but wells MP-2, RH-A and RW are included in the monitoring
network.
bgs - below ground surface
msl - mean sea level
TOC - top of casing
BTOC - below top of casing
NM = Not Measured
Shallow Well
Intermediate Well
Deep Well
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                                                        TABLE 2
                                  LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                          WICKES FOREST INDUSTRIES
                                        147 "A" STREET, ELMIRA, CALIFORNIA
                          CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164

                                                          DISSOLVED HEXAVALENT                   DISSOLVED
      WELL                                                    CHROMIUM (CrVI)                        ARSENIC
                              DATE SAMPLED
  IDENTIFICATION                                                    (µg/l)                         (µg/l)
                                                                  RAO: 10 µg/l                   MCL: 10 µg/l
           E-1                    11/16/2017                          12                            NA
           E-2                    11/16/2017                          4.5                            3.7
           E-4                    11/20/2017                          3.2                           2.9
           E-5                    11/20/2017                          20                            2.3
          E-6A                    11/20/2017                         100                             14
          E-6B                    11/20/2017                         880                            3.1
           E-17                   11/20/2017                         <1.0                           NA
          E-18A                   11/16/2017                          14                            <2.0
           E-20                   11/16/2017                         <1.0                           NA
           E-21                   11/16/2017                          1.8                            2.8
                                  11/20/2017                          2.1                            2.3
          E-22
                          11/20/2017 (Duplicate E-73)                 2.5                            2.2
           E-23                   11/20/2017                          4.7                            2.6
           E-25                   11/16/2017                          3.9                            2.9
           E-28                   11/20/2017                          66                             52
           E-29                   11/20/2017                         <1.0                           NA
          E-30A                   11/20/2017                         440                             5.1
                                  11/16/2017                         <1.0                            2.3
          E-31
                          11/16/2017 (Duplicate E-72)                <1.0                           <2.0
          E-32                    11/16/2017                          2.6                            5.5
          E-33                    11/16/2017                         <1.0                            2.8
          E-34                    11/20/2017                          1.4                            4.2
          E-36                    11/20/2017                         <1.0                           <2.0
          E-40                    11/16/2017                         <1.0                           <2.0
          E-42                    11/16/2017                          1.5                           NA
          E-44                    11/16/2017                          11                             2.5
          E-47                    11/16/2017                          2.8                           NA
                                  11/16/2017                          6.4                           NA
          E-49
                          11/16/2017 (Duplicate E-70)                 5.4                           NA
          E-51                    11/16/2017                          9.2                           NA
          E-55                    11/16/2017                          3.9                           NA
                                  11/16/2017                         <1.0                            3.8
          E-62
                          11/16/2017 (Duplicate E-71)                <1.0                            3.9
          MP-2                    11/14/2017                          2.4                           <2.0
          RH-A                    11/14/2017                          4.1                           2.0
           RW                     11/14/2017                         3.4                            2.3
Notes:
 µg/l = micrograms per liter (equivalent to parts per billion)
 RAO = Remedial Action Objective. Bold results exceed RAO.
 MCL = Maximum Contaminant Level for drinking water established by USEPA. Bold results exceed MCL.
 (dup) = duplicate sample
 < = not detected above the MDL.
 NA = not analyzed
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                                                TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                       (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l

        E-1              10/28/1990               38                           <10
        E-1               1/23/1991               <20                          <10
        E-1                4/3/1991               <20                          <10
        E-1               7/23/1991               <20                          <10
        E-1           7/23/1991 (dup)             10                           <5
        E-1               1/21/1992               <10                          <5
        E-1               7/21/1992               <10                          <5
        E-1                1/5/1993                38                          <5
        E-1               7/12/1993                26                          <5
        E-1                4/5/1994                90                           3
        E-1               11/3/1994               250                           3
        E-1                4/5/1995               260                          <2
        E-1                5/2/1996               420                          <2
        E-1               5/21/1997               360                          <2
        E-1               5/22/1998               230                          <5
        E-1               4/29/1999               250                          <5
        E-1               4/23/2000               200                          <5
        E-1               4/30/2001               220                          <5
        E-1               7/18/2001               160                          NA
        E-1                5/1/2002               140                          <5
        E-1            5/1/2002 (dup)             150                          <5
        E-1               2/27/2003               110                          <5
        E-1           2/27/2003 (dup)             110                          <5
        E-1               3/26/2007                62                          3.6
        E-1               9/11/2007                58                         13 J
        E-1               4/29/2009                44                         <1.9
        E-1               11/6/2009                40                         7.9 J
        E-1               4/22/2010              3.9 J                         <10
        E-1              10/11/2010                27                         2.8 J
        E-1                5/9/2011                30                          ND
        E-1              10/24/2011                31                         9.1 J
        E-1               6/13/2012                31                         3.3 J
        E-1               12/4/2012                17                          <10
        E-1               3/19/2013                28                         3.3 J
        E-1                9/5/2013                30                          NA
        E-1               3/19/2014                24                          NA
        E-1               9/23/2014                22                          NA
        E-1                3/5/2015                21                          NA
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-1              9/21/2015                  13                        NA
        E-1              3/28/2016                 2.5                        NA
        E-1             11/21/2016                  12                        NA
        E-1              6/26/2017                 4.7                        NA
        E-1             11/16/2017                  12                        NA

        E-2             10/25/1990                  <20                        <10
        E-2              1/23/1991                  <20                        <10
        E-2              11/7/2001                  <10                         <5
        E-2              4/26/2001                  <1                          <5
        E-2              4/29/2002                  <1                          <5
        E-2              8/20/2002                  <1                          <3
        E-2              2/24/2003                  <10                         <1
        E-2              8/28/2003                  <10                          1
        E-2              2/18/2004                  <10                         <3
        E-2              8/24/2004                  <10                         <3
        E-2              3/26/2007                  <2                          3.6
        E-2              9/11/2007                  <2                          2.6
        E-2              4/23/2008                 1.7 J                        <2
        E-2              11/5/2008                  <10                       1.7 J
        E-2              4/29/2009                  <3                         <1.9
        E-2              11/6/2009                 <3.7                       5.0 J
        E-2              4/22/2010                  <10                       2.8 J
        E-2             10/11/2010                 5.5 J                       ND
        E-2               5/9/2011                  ND                         ND
        E-2             10/24/2011                 4.0 J                      5.5 J
        E-2              6/13/2012                  <10                       1.8 J
        E-2              12/3/2012                  2.9                       3.8 J
        E-2              3/19/2013                  2.0                       1.9 J
        E-2               9/5/2013                  6.3                        NA
        E-2              3/19/2014                  4.9                       0.93 J
        E-2              9/23/2014                  9.6                       0.97 J
        E-2               3/5/2015                  4.4                       0.96 J
        E-2              9/22/2015                  2.8                         2.0
        E-2              3/28/2016                  2.8                        <2.0
        E-2           3/28/2016 (dup)               3.1                        <2.0
        E-2             11/21/2016                  3.5                         2.0
        E-2              6/26/2017                  3.0                         2.2
        E-2             11/20/2017                  4.5                         3.7
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l

        E-3               2/7/1991                  550                        <10
        E-3              7/23/1992                  430                        <5
        E-3              7/14/1993                  370                        <5
        E-3              4/11/1994                  310                        <2
        E-3               4/7/1995                  130                        2.0
        E-3               5/3/1996                  170                        <2
        E-3              5/21/1997                  130                        5.0
        E-3              5/31/1997                  130                        2.0
        E-3              5/22/1998                   90                        <5
        E-3              4/29/1999                   70                        <5
        E-3              4/28/2000                   40                        <5
        E-3              4/30/2001                   67                        <5
        E-3              7/18/2001                   26                        NA
        E-3               5/1/2002                   29                        <5
        E-3              2/26/2003                   20                        1.1
        E-3              2/23/2004                   20                        <3
        E-3              3/23/2006                   11                        4.5
        E-3               9/12/2007                 5.8                         47
        E-3               4/29/2009                 6.6                       <1.9
        E-3               11/6/2009                 5.5                       5.0 J
        E-3               4/21/2010                 5.4                        <10
        E-3              10/13/2010                  10                        ND
        E-3                5/9/2011                 4.8                        ND
        E-3              10/24/2011                4.0 J                      5.5 J
        E-3           10/24/2011 (dup)             4.0 J                      6.5 J
        E-3               6/14/2012                 <10                       3.0 J
        E-3           6/14/2012 (dup)               <10                       3.4 J
        E-3               12/3/2012                 1.4                       3.5 J
        E-3               3/19/2013                 1.4                       3.7 J
        E-3                9/5/2013                 1.9                        NA
        E-3               3/19/2014                 2.1                        NA
        E-3                3/5/2015                 2.3                        NA
        E-3               3/28/2016                <1.0                        NA
        E-3               6/26/2017                <1.0                        NA

        E-4              4/17/1989                  <10                        <10
        E-4              7/21/1989                  <10                        <10
        E-4              1/10/1990                  20                         <10
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                       (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
        E-4             10/25/1990               <20                          <10
        E-4              1/22/1991               <20                          <10
        E-4              7/23/1991               <20                          <10
        E-4             10/24/1991               <10                           <5
        E-4              1/21/1992               <10                           <5
        E-4              7/21/1992               <10                           <5
        E-4               1/5/1993               <10                           <5
        E-4               7/8/1993               <10                           <5
        E-4               4/5/1994               <10                            6
        E-4           4/5/1994 (dup)             <10                            3
        E-4              12/8/1994                20                           <2
        E-4               4/5/1995                10                           <2
        E-4              4/30/1996               <10                           <2
        E-4              4/25/1997               <10                           <2
        E-4              5/18/1998               <10                           <5
        E-4           5/18/1998 (dup)            <10                           <5
        E-4              4/26/1999               <10                           <5
        E-4           4/26/1999 (dup)            <10                           <5
        E-4              4/25/2000               <10                           <5
        E-4              4/24/2001               <10                           <5
        E-4              4/23/2002               <10                           <5
        E-4              2/20/2003               <10                           1.5
        E-4              2/18/2004               <10                           <3
        E-4              3/21/2007                3.9                          11
        E-4              9/12/2007              1.3 J                          3.9
        E-4              4/29/2009               <3.0                         <1.9
        E-4              11/5/2009              5.4 J                        7.2 J
        E-4              4/21/2010              6.6 J                         <10
        E-4             10/11/2010              6.4 J                        4.2 J
        E-4              5/10/2011                15                         2.6 J
        E-4              12/5/2011              6.2 J                        3.7 J
        E-4              6/11/2012              8.9 J                         <10
        E-4              12/4/2012                12                          <10
        E-4              3/19/2013                14                          <10
        E-4               9/5/2013                11                          NA
        E-4              3/17/2014                11                          NA
        E-4              9/23/2014                6.8                         NA
        E-4              3/12/2015                6.9                         NA
        E-4              9/22/2015                3.2                          2.9
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                       (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
        E-4              3/30/2016               3.8                          3.0
        E-4             11/22/2016               2.4                          2.7
        E-4              6/27/2017               2.5                          3.2
        E-4           6/27/2017 (dup)            4.3                          3.4
        E-4             11/20/2017               3.2                          2.9

        E-5              4/18/1989                590                          <10
        E-5              7/21/1989                500                          <10
        E-5              1/15/1990                500                          <10
        E-5             10/31/1990                540                          <10
        E-5               2/7/1991                590                          <10
        E-5              4/10/1991                370                          <10
        E-5               8/2/1991                600                          <10
        E-5             10/29/1991                260                          <5
        E-5              1/28/1992                610                          <5
        E-5              1/23/1992                560                          <5
        E-5              7/14/1993                550                          <5
        E-5              4/11/1994                600                          <2
        E-5               4/7/1995                280                           3
        E-5               5/2/1996                200                           <2
        E-5              5/21/1997                 90                           <2
        E-5              5/21/1998                 60                           <5
        E-5              4/29/1999                 50                          6.1
        E-5              4/28/2000                 30                           <5
        E-5              4/26/2001                 18                           <5
        E-5              4/30/2002                 10                           <5
        E-5              2/20/2003                 20                          1.2
        E-5              2/23/2004                 10                           <3
        E-5              3/21/2007                 33                          5.5
        E-5           3/21/2007 (dup)              34                          6.7
        E-5              9/12/2007                 33                          4.7
        E-5           9/12/2007 (dup)              34                          2.7
        E-5              4/28/2009                 31                         <1.9
        E-5              11/5/2009                 46                         6.3 J
        E-5              4/23/2010                <10                        1.7 J B
        E-5             10/11/2010                 47                          ND
        E-5              5/10/2011                 37                          ND
        E-5              12/5/2011                 30                         6.9 J
        E-5               4/5/2012                 39                         4.3 J
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-5              6/11/2012                  40                        <10
        E-5              8/28/2012                  33                        <10
        E-5              12/3/2012                  39                        <10
        E-5              3/19/2013                  35                        <10
        E-5               9/5/2013                  33                        NA
        E-5              3/17/2014                  28                        NA
        E-5              9/22/2014                  25                         1.7
        E-5              3/12/2015                  26                        NA
        E-5              9/22/2015                  17                        <2.0
        E-5           9/22/2015 (dup)               16                         2.1
        E-5              3/30/2016                  17                        <2.0
        E-5             11/22/2016                  16                        <2.0
        E-5              6/27/2017                  17                        <2.0
        E-5             11/20/2017                  20                         2.3

        E-6              4/18/1989                 10000                       NA
        E-6              7/24/1989                  8000                      1800
        E-6              8/28/1989                  3600                      2500
        E-6             10/31/1990                  3400                      1100
        E-6              2/11/1991                  4800                      1600
        E-6              4/11/1991                  3000                        81
        E-6               8/2/1991                  5000                       860
        E-6             10/30/1991                  3900                      1000
        E-6              1/28/1992                  6600                       160
        E-6              7/23/1992                  5800                       420
        E-6              1/11/1993                  5100                      1300
        E-6              7/14/1993                  7000                       <5
        E-6              4/12/1994                  6600                       350
        E-6              11/9/1994                   NA                        370
        E-6             12/16/1994                  5700                       NA
        E-6              4/10/1995                  5000                       940
        E-6             10/26/1995                  4600                       630
        E-6               5/3/1996                  4500                       480
        E-6             10/30/1996                  6000                       360
        E-6              5/21/1997                  5700                       170
        E-6              11/5/1997                  4400                       NA
        E-6              5/22/1998                  3400                       180
        E-6             10/22/1998                  1700                       150
        E-6              3/11/1999                  2800                       220
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                  CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                           (µg/l)
                                              MCL: 10 µg/l                     MCL: 10 µg/l
        E-6             10/13/1999               3100                               110
        E-6              4/28/2000               2800                               170
        E-6              11/7/2000               3500                                78
        E-6              4/30/2001               2800                                23
        E-6              7/18/2001               3600                               NA
        E-6             10/10/2001               3800                               170
        E-6               5/1/2002               2900                               160
        E-6              2/27/2003               2200                               490
        E-6              2/24/2004               3000                               300
        E-6              3/27/2007                960                               990
        E-6              9/12/2007               1700                               570
        E-6              4/23/2008               1700                               670
        E-6              12/3/2008               1100                               140
        E-6              4/30/2009               1100                               550
        E-6           4/30/2009 (dup)            1900                               560
        E-6              11/5/2009               2000                               880
        E-6              2/10/2010               1500                               650
        E-6              4/21/2010               1200                               670
        E-6           4/21/2010 (dup)            1100                               690
        E-6             10/12/2010               1500                               500
        E-6              2/22/2011                880                               650
        E-6              5/10/2011                880                               800
        E-6              9/10/2011                      Well Abandoned, Area Excavated

       E-6A               4/5/2012                260                               10
       E-6A              6/14/2012                170                               10
       E-6A           6/14/2012 (dup)             170                              9.7 J
       E-6A              8/28/2012                100                              6.1 J
       E-6A              12/4/2012                 83                              14 B
       E-6A           12/4/2012 (dup)              92                              13 B
       E-6A              3/21/2013                 82                              13 B
       E-6A           3/21/2013 (dup)              82                              15 B
       E-6A               9/5/2013                 55                               14
       E-6A              3/17/2014                 89                               13
       E-6A           3/17/2014 (dup)              98                               16
       E-6A              9/23/2014                 88                               11
       E-6A           9/23/2014 (dup)              88                               9.3
       E-6A              3/12/2015                100                               11
       E-6A           3/12/2015 (dup)             100                               10
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
       E-6A              9/22/2015                   89                           13
       E-6A              3/30/2016                   93                           8.0
       E-6A             11/22/2016                  110                           10
       E-6A              6/27/2017                   92                           12
       E-6A             11/20/2017                  100                           14

       E-6B                4/5/2012                 750                       5.2 J
       E-6B              6/14/2012                  570                       4.9 J
       E-6B               8/28/2012                 320                       4.3 J
       E-6B              12/4/2012                  540                        <10
       E-6B              3/21/2013                  580                       5.8 B
       E-6B               9/5/2013                  640                       4.9 J
       E-6B              3/17/2014                  820                        1.5
       E-6B              9/23/2014                  710                        2.2
       E-6B              3/12/2015                  860                        1.6
       E-6B               9/22/2015                 690                        2.9
       E-6B               3/30/2016                 820                       <2.0
       E-6B              11/22/2016                1,100                       2.1
       E-6B           11/22/2016 (dup)              970                       <2.0
       E-6B               6/27/2017                 920                        2.0
       E-6B              11/20/2017                 880                        3.1

        E-7              3/21/2007                   <2                           8.0
        E-7              9/12/2007                   <2                           4.8
        E-7              3/20/2014                   1.0                          NA
        E-7              3/12/2015                  0.98                          NA
        E-7              3/30/2016                  <1.0                          NA
        E-7              6/27/2017                  <1.0                          NA

        E-15             4/17/1989                  <20                        <10
        E-15             7/20/1989                  <20                        <10
        E-15             1/10/1990                  <20                        <10
        E-15            10/23/1990                  <20                        <10
        E-15             1/22/1991                  <20                        <10
        E-15              4/2/1991                  <20                        <10
        E-15             7/23/1991                  <20                        <10
        E-15             1/20/1992                  <20                        <10
        E-15            10/23/1991                  <10                        <5
        E-15             4/24/2001                  3.5                        <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-15            4/23/2002                   2.9                        <5
        E-15            8/21/2002                   3.2                        <3
        E-15            2/25/2003                   1.7                        <1
        E-15             9/3/2003                   2.1                        <1
        E-15            2/23/2004                   1.5                        <3
        E-15            8/24/2004                   1.4                        <3
        E-15            3/27/2007                   1.2                      1.3 J
        E-15            9/12/2007                   <2                         <2
        E-15            4/23/2008                 1.8 J                        2.8
        E-15             11/6/2008                 <10                         <5
        E-15            4/30/2009                  <3.0                       <1.9
        E-15             11/5/2009                 <3.7                      6.5 J
        E-15             4/23/2010                 <10                        <10
        E-15            10/12/2010                7.5 J                       ND
        E-15             5/10/2011                 ND                        3.4 J
        E-15             12/5/2011                 <10                        <10
        E-15             6/11/2012                 <10                        <10
        E-15             12/6/2012                 0.58                       <10
        E-15             3/21/2013                  1.7                      3.9 B
        E-15              9/5/2013                2.5 B                       NA
        E-15             3/18/2014                  1.0                       NA
        E-15             9/24/2014                  2.3                       NA
        E-15             3/13/2015                 0.72                       NA
        E-15             3/30/2016                 <1.0                       NA
        E-15             6/27/2017                 <1.0                       NA

        E-16             4/17/1989                  <20                        <10
        E-16             7/21/1989                  <20                        <10
        E-16             1/10/1990                  <20                        <10
        E-16            10/25/1990                  <20                        <10
        E-16             1/22/1991                  <20                        <10
        E-16              4/2/1991                  <20                        <10
        E-16             7/23/1991                  <20                        <10
        E-16            10/24/1991                  <10                        <5
        E-16             1/21/1992                  <10                        <5
        E-16             7/22/1992                  <10                        <5
        E-16              1/5/1993                  <10                        <5
        E-16              7/7/1993                  <10                        <5
        E-16              4/5/1994                  <10                         5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-16             11/7/1994                 <10                               18
        E-16              4/5/1995                 <10                              <2
        E-16            10/24/1995                 <10                              <2
        E-16             4/30/1996                 <10                              <2
        E-16            10/29/1996                 <10                                4
        E-16             4/25/1997                 <10                              <2
        E-16            10/21/1997                 <10                                4
        E-16             5/18/1998                 <10                              <5
        E-16            10/21/1998                 <10                               14
        E-16             4/26/1999                 <10                              <5
        E-16            10/11/1999                 <10                               <5
        E-16             4/24/2000                 <10                               <5
        E-16             11/6/2000                 <10                               <5
        E-16             4/24/2001                  <1                               <5
        E-16             10/9/2001                 <2.5                              <5
        E-16             4/23/2002                  <1                               <5
        E-16             2/20/2003                 NA                                15
        E-16             2/18/2004                 <0.5                              <3
        E-16             3/27/2007                  <2                              4.1
        E-16             9/12/2007                  <2                             1.1 J
        E-16             8/20/2013                              Well Abandoned

        E-17             4/17/1989                  <20                              <10
        E-17             7/20/1989                  <20                              <10
        E-17             1/12/1990                  <20                              <10
        E-17            10/23/1990                  <20                              <10
        E-17             1/22/1991                  <20                              <10
        E-17              4/3/1991                  <20                              <10
        E-17             7/22/1991                  <20                              <10
        E-17            10/23/1991                  <10                              <5
        E-17             1/20/1992                   21                              <5
        E-17             7/21/1992                  <10                              <5
        E-17              1/5/1993                  <10                              <5
        E-17              7/7/1993                  <10                              <5
        E-17              4/5/1994                  <10                               3
        E-17             11/7/1994                  <10                              <2
        E-17              4/4/1995                  <10                              <2
        E-17            10/25/1995                  <10                               3
        E-17             4/30/1996                  <10                              <2
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-17             10/29/1996                <10                         4
        E-17          10/29/1996 (dup)             <10                         2
        E-17              4/29/1997                <10                         2
        E-17             10/21/1997                <10                         3
        E-17              5/18/1998                <10                        <5
        E-17             10/21/1998                <10                        8.2
        E-17              4/26/1999                <10                        <5
        E-17             10/12/1999                <10                        <5
        E-17              4/25/2000                <10                        <5
        E-17              11/6/2000                <10                        <5
        E-17              4/24/2001                <10                         <5
        E-17              10/9/2001                <2.5                        <5
        E-17              4/23/2002                 <1                         <5
        E-17              8/20/2002                 <1                         <3
        E-17              3/22/2007                 <2                         2
        E-17           3/22/2007 (dup)              <2                         2
        E-17              9/12/2007                 <2                        2.8
        E-17              3/18/2014               <0.50                       NA
        E-17              9/24/2014               <0.50                       NA
        E-17              3/10/2015               <0.50                       NA
        E-17              9/22/2015                <1.0                       NA
        E-17              3/29/2016                <1.0                       NA
        E-17             11/21/2016                <1.0                       NA
        E-17              6/27/2017                <1.0                       NA
        E-17             11/20/2017                <1.0                       NA

    E-18/E-18A           4/17/1989                  <10                        <10
    E-18/E-18A           7/20/1989                  <10                        <10
    E-18/E-18A           1/15/1990                  <10                        <10
    E-18/E-18A          10/23/1990                  <10                        <10
    E-18/E-18A           1/24/1991                  <20                        <10
    E-18/E-18A            4/8/1991                  30                         <10
    E-18/E-18A           7/24/1991                  20                         <10
    E-18/E-18A          10/28/1991                  49                         <5
    E-18/E-18A           1/22/1992                  51                         <5
    E-18/E-18A           7/22/1992                  55                         <5
    E-18/E-18A            1/6/1993                  68                         <5
    E-18/E-18A           7/12/1993                  77                         <5
    E-18/E-18A            4/6/1994                  80                         <2
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
    E-18/E-18A          12/7/1994                    90                        <2
    E-18/E-18A           4/6/1995                   100                        <2
    E-18/E-18A          3/22/2007                    71                        <2
    E-18/E-18A          9/12/2007                    74                        <2
    E-18/E-18A          4/30/2009                    60                       <1.9
    E-18/E-18A           11/6/2009                  230                       4.6 J
    E-18/E-18A           4/22/2010                   46                        <10
    E-18/E-18A          10/13/2010                   52                        ND
    E-18/E-18A           5/11/2011                   46                       3.7 J
    E-18/E-18A          10/26/2011                   37                        <10
    E-18/E-18A          6/14/2012                    25                        <10
    E-18/E-18A          12/6/2012                   8.8                        <10
    E-18/E-18A          3/18/2013                    22                       3.9 J
    E-18/E-18A           9/5/2013                   26                         NA
    E-18/E-18A          3/18/2014                   25                       0.55 J
    E-18/E-18A          9/24/2014                   22                        <1.0
    E-18/E-18A          3/10/2015                   21                        <1.0
    E-18/E-18A           9/22/2015                  15                        <2.0
    E-18/E-18A           3/29/2016                  19                        <2.0
    E-18/E-18A          11/22/2016                  14                        <2.0
    E-18/E-18A           6/26/2017                  13                        <2.0
    E-18/E-18A          11/16/2017                  14                        <2.0

        E-19             4/18/1989                  <20                        <10
        E-19             1/12/1990                  <20                        <10
        E-19            10/25/1990                  <20                        <10
        E-19             1/23/1991                  <20                        <10
        E-19              4/3/1991                  <20                        <10
        E-19             7/23/1991                  <20                        <10
        E-19            10/24/1991                  <10                        <5
        E-19             1/21/1992                  <10                        <5
        E-19             7/21/1992                  <10                        <5
        E-19              1/5/1993                   11                        <5
        E-19              7/8/1993                  <10                        <5
        E-19              4/5/1994                  <10                         4
        E-19             11/9/1994                  <10                        <2
        E-19              4/7/1995                  <10                         3
        E-19            10/25/1995                  <10                         5
        E-19             4/30/1996                  <10                         3
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                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                        (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
        E-19            10/29/1996               <10                             4
        E-19             4/25/1997               <10                            <2
        E-19            10/21/1997               <10                            <2
        E-19             5/18/1998               <10                             6
        E-19            10/21/1998               <10                            <5
        E-19             4/27/1999               <10                            <5
        E-19            10/12/1999               <10                            <5
        E-19             4/25/2000               <10                            <5
        E-19             11/6/2000               <10                            <5
        E-19             4/24/2001               <10                            <5
        E-19             10/9/2001               <10                            <5
        E-19             4/23/2002               <10                            <5
        E-19             8/20/2002                <1                            <3
        E-19             2/20/2003               <10                           1.4
        E-19             8/28/2003               <10                            <1
        E-19             2/19/2004               <10                            <3
        E-19             8/24/2004               <10                            <3
        E-19             3/21/2007                <2                            2.6
        E-19             9/12/2007                <2                          1.5 J
        E-19             4/23/2008              0.76 J                          <2
        E-19             11/7/2008               <10                          1.6 J
        E-19             4/30/2009               <3.0                         1.9 J
        E-19             11/5/2009               <3.7                         7.3 J
        E-19             4/23/2010               <10                        2.4 J (B)
        E-19            10/12/2010               ND                            ND
        E-19             5/10/2011               ND                            ND
        E-19            10/25/2011               <10                          3.3 J
        E-19             6/12/2012               <10                           <10
        E-19          6/12/2012 (dup)            <10                           <10
        E-19             8/28/2012               <10                           <10
        E-19             12/6/2012               <0.5                          <10
        E-19             3/18/2013             0.086 J                        3.6 J
        E-19              9/4/2013               <0.5                          NA
        E-19             3/18/2014               <0.5                        0.99 J
        E-19             9/24/2014               <0.5                        0.51 J
        E-19             3/10/2015               <0.5                         0.91 J
        E-19             9/22/2015               <1.0                          <2.0
        E-19             3/29/2016               <1.0                          <2.0
        E-19            11/21/2016               <1.0                          <2.0
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l

        E-20             4/17/1989                  560                        <10
        E-20             7/21/1989                  440                        <10
        E-20             1/15/1990                  280                        <10
        E-20            10/30/1990                  480                        <10
        E-20              2/6/1991                  440                        <10
        E-20             4/10/1991                  210                        <10
        E-20             7/25/1991                  160                        <10
        E-20            10/29/1991                  210                        <5
        E-20             1/28/1992                   90                        <5
        E-20             7/23/1992                  120                        <5
        E-20             1/11/1993                   76                        <5
        E-20             7/13/1993                   58                        <5
        E-20             4/11/1994                   10                        <2
        E-20             11/9/1994                   50                        <2
        E-20              4/7/1995                   20                        <2
        E-20              5/1/1996                   20                        <2
        E-20             4/29/1997                  <10                        <2
        E-20             5/20/1998                  <10                        <5
        E-20             4/28/1999                  <10                        <5
        E-20             4/26/2000                  <10                        <5
        E-20             4/26/2001                   17                        <5
        E-20             4/29/2002                   22                        <5
        E-20             8/21/2002                   30                        <3
        E-20             2/26/2003                   30                        <5
        E-20              9/3/2003                   40                        <1
        E-20             2/24/2004                   20                        <3
        E-20             8/24/2004                   20                        <3
        E-20             3/21/2007                   17                        <2
        E-20             9/11/2007                   19                       7.6 J
        E-20             4/23/2008                   20                        <2
        E-20             11/5/2008                   26                        <5
        E-20             4/30/2009                   26                       <1.9
        E-20             11/6/2009                   30                       6.2 J
        E-20             2/10/2010                   37                       3.3 J
        E-20             4/23/2010                   36                        <10
        E-20            10/12/2010                   40                        ND
        E-20             2/22/2011                   47                        <10
        E-20             5/11/2011                   40                       3.2 J
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                    147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                         DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                   CHROMIUM (CrVI)                 ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                  (µg/l)                       (µg/l)
                                               MCL: 10 µg/l                MCL: 10 µg/l
        E-20              8/23/2011                 37                        2.6 J
        E-20             10/25/2011                 37                        3.5 J
        E-20               4/5/2012                 46                       3.2 JB
        E-20             6/12/2012                  43                         <10
        E-20              8/28/2012                 33                         <10
        E-20             12/4/2012                  37                         <10
        E-20             3/18/2013                  39                        4.1 J
        E-20              9/4/2013                  42                         NA
        E-20              3/17/2014                 42                         <1.0
        E-20              6/12/2014                 35                         <1.0
        E-20              9/22/2014                 54                       0.57 J
        E-20             12/22/2014                 38                         <1.0
        E-20          12/22/2014 (dup)              35                         <1.0
        E-20              3/10/2015                 32                       0.53 J
        E-20               6/3/2015                 30                         <1.0
        E-20           6/3/2015 (dup)               29                         <1.0
        E-20              9/22/2015                <1.0                        NA
        E-20              12/9/2015                 4.8                        NA
        E-20              3/29/2016                 24                         NA
        E-20             11/22/2016                 6.5                        NA
        E-20              6/27/2017                 6.3                        NA
        E-20             11/16/2017                <1.0                        NA

        E-21             4/18/1989                1800                         <10
        E-21             7/21/1989                2100                         <10
        E-21             1/15/1990                1300                         <10
        E-21            10/31/1990                <20                          <10
        E-21              2/7/1991                1200                         <10
        E-21             4/10/1991                 400                         21
        E-21              8/2/1991                 900                         <10
        E-21            10/29/1991                 270                         <5
        E-21             1/28/1992                 960                         <5
        E-21             7/23/1992                 290                         <5
        E-21             1/11/1993                  27                         <5
        E-21          1/11/1993 (dup)               26                         <5
        E-21             7/14/1993                  48                         <5
        E-21             4/12/1994                  70                         <2
        E-21          4/12/1994 (dup)               60                         <2
        E-21             12/9/1994                  70                          3
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                                   WICKES FOREST INDUSTRIES
                                    147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                         DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                   CHROMIUM (CrVI)                 ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                  (µg/l)                       (µg/l)
                                               MCL: 10 µg/l                MCL: 10 µg/l
        E-21             4/10/1995                  50                          <2
        E-21              5/1/1996                  <10                         <2
        E-21             4/29/1997                  <10                         <2
        E-21             5/20/1998                  <10                         <5
        E-21             5/21/1998                  <10                         <5
        E-21             4/28/1999                  10                          <5
        E-21             4/27/2000                   10                         <5
        E-21             4/23/2001                  <10                         <5
        E-21             4/29/2002                  2.7                         <5
        E-21              2/24/2003                 <10                         13
        E-21              2/23/2004                 <10                         <3
        E-21              3/21/2007                 <2                          2.7
        E-21              9/11/2007                 <2                          2.1
        E-21              4/30/2009                  22                       2.7 J
        E-21              11/6/2009                <3.7                       9.4 J
        E-21              4/23/2010                 <10                      4.5 JB
        E-21             10/12/2010                 ND                        4.7 J
        E-21              5/11/2011                5.1 J                       4.9 J
        E-21              8/23/2011                 <10                       3.9 J
        E-21             10/25/2011                 <10                       5.5 J
        E-21               4/5/2012                 <10                      6.4 JB
        E-21              6/12/2012                  12                        <10
        E-21              8/28/2012                  15                       2.9 J
        E-21              12/4/2012                  48                      1.8 JB
        E-21              3/18/2013                  77                       3.8 J
        E-21               9/4/2013               120 B                      2.2 JB
        E-21             12/26/2013                 130                      0.98 J
        E-21          12/26/2013 (dup)              130                      0.99 J
        E-21              3/17/2014                  98                      0.89 J
        E-21              6/12/2014                  91                      0.74 J
        E-21              9/22/2014                 100                        0.89
        E-21             12/22/2014                 120                         1.8
        E-21              3/10/2015                  88                         1.5
        E-21               6/3/2015                  90                         1.1
        E-21              9/22/2015                 5.9                         4.1
        E-21              12/9/2015                 3.8                         6.0
        E-21              3/29/2016                <1.0                         3.0
        E-21             11/22/2016                 5.0                         2.5
        E-21              6/27/2017                <1.0                         6.7
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-21            11/16/2017                 1.8                        2.8

        E-22             4/17/1989                   <10                       <10
        E-22             7/21/1989                   <10                       <10
        E-22             1/15/1990                   140                       <10
        E-22            10/29/1990                    82                       <10
        E-22             1/24/1991                    91                       <10
        E-22              4/9/1991                   <20                       <10
        E-22             7/25/1991                    50                       <10
        E-22            10/28/1991                    76                       <5
        E-22             1/23/1992                    59                       <5
        E-22             7/22/1992                    23                       <5
        E-22             7/13/1993                    50                       <5
        E-22              4/7/1994                    50                        3
        E-22              4/6/1995                    30                       <2
        E-22              5/1/1996                    20                       <2
        E-22             5/20/1997                   <10                       <2
        E-22             5/20/1998                   <10                       <.5
        E-22             4/28/1999                    10                       <.5
        E-22             4/27/2000                   <10                       <.5
        E-22             4/26/2001                   <10                       <.5
        E-22             4/29/2002                   <10                       <.5
        E-22             2/24/2003                   <10                       <1
        E-22             2/18/2004                   <10                       <3
        E-22             3/21/2007                   <2                        3.9
        E-22             9/11/2007                   6.4                       8.6
        E-22             4/30/2009                    21                      2.5 J
        E-22             11/6/2009                  7.5 J                     3.6 J
        E-22             4/22/2010                  7.2 J                     2.0 J
        E-22            10/12/2010                    15                       ND
        E-22             2/22/2011                    47                       <10
        E-22             5/11/2011                    10                      2.8 J
        E-22            10/25/2011                  8.8 J                     3.7 J
        E-22             6/12/2012                   <10                       <10
        E-22             8/28/2012                   <10                      1.9 J
        E-22             12/4/2012                 0.34 J                      <10
        E-22             3/18/2013                   3.9                      4.4 J
        E-22              9/4/2013                  0.75                       NA
        E-22             3/17/2014                   3.7                       1.4
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                    147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                         DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                   CHROMIUM (CrVI)                 ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                  (µg/l)                      (µg/l)
                                               MCL: 10 µg/l                MCL: 10 µg/l
        E-22             9/22/2014                 1.9                         2.0
        E-22             3/10/2015                 2.4                         1.4
        E-22              9/22/2015                4.7                        <2.0
        E-22              3/29/2016                1.0                        <2.0
        E-22             11/21/2016               <1.0                        <2.0
        E-22              6/27/2017                3.0                         2.0
        E-22             11/20/2017                2.1                         2.3
        E-22          11/20/2017 (dup)             2.5                         2.2

        E-23             4/18/1989                2900                         <10
        E-23             7/21/1989                3100                         <10
        E-23             1/15/1990                2100                         <10
        E-23            10/31/1990                2100                         <10
        E-23              2/7/1991                2200                         <10
        E-23             4/11/1991                 350                         <10
        E-23              8/2/1991                1800                         <10
        E-23             1/28/1992                1400                          <5
        E-23            10/30/1991                1500                          <5
        E-23             3/21/2007                  43                          2.3
        E-23             9/12/2007                  32                          4.9
        E-23             11/6/2008                  94                          <5
        E-23             4/30/2009                  60                         <1.9
        E-23             11/6/2009                 130                         <1.5
        E-23             2/10/2010                  51                        2.7 J
        E-23             4/23/2010                  30                       1.9 J B
        E-23            10/12/2010                  87                         ND
        E-23             2/22/2011                  23                         <10
        E-23             5/10/2011                  41                        5.0 J
        E-23             8/23/2011                  36                         <10
        E-23            10/25/2011                  40                        4.2 J
        E-23              4/5/2012                  25                        2.1 J
        E-23             6/14/2012                  33                         <10
        E-23             8/28/2012                  62                         <10
        E-23             12/4/2012                  23                         <10
        E-23             3/19/2013                  27                        3.9 J
        E-23              9/4/2013                  36                         NA
        E-23             3/18/2014                  14                          1.4
        E-23             6/12/2014                  15                          1.1
        E-23          6/12/2014 (dup)               16                           1
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-23             9/23/2014                  32                         1.0
        E-23            12/22/2014                  13                         1.5
        E-23             3/12/2015                  12                         1.2
        E-23              6/3/2015                  11                         1.4
        E-23             9/22/2015                  25                        <2.0
        E-23             3/30/2016                  6.0                       <2.0
        E-23            11/22/2016                  2.2                        5.0
        E-23             6/27/2017                  1.9                        2.4
        E-23            11/20/2017                  4.7                        2.6

        E-24             1/10/1990                  <20                        <10
        E-24            10/23/1990                  <20                        <10
        E-24             1/22/1991                  <20                        <10

        E-25             4/18/1989                  180                        <10
        E-25             7/24/1989                  200                        <10
        E-25             1/15/1990                  200                        <10
        E-25            10/30/1990                  100                        <10
        E-25              2/6/1991                  240                        <10
        E-25            10/23/1991                   19                        <5
        E-25             1/21/1992                  <10                        <5
        E-25              1/7/1993                   92                        <5
        E-25              7/7/1993                   20                        <5
        E-25             4/11/1994                   30                        <2
        E-25             11/8/1994                   30                        <2
        E-25              4/7/1995                   30                        <2
        E-25            10/26/1995                   30                        <2
        E-25              5/1/1996                   20                        <2
        E-25             4/23/1997                   20                        <2
        E-25            10/23/1997                   20                         2
        E-25             5/15/1998                   20                        <5
        E-25            10/22/1998                   11                        <5
        E-25             4/28/1999                   30                        <5
        E-25             4/26/2000                   10                        <5
        E-25             11/7/2000                   23                        <5
        E-25             4/26/2001                   13                        <5
        E-25            10/10/2001                   31                        <5
        E-25             4/30/2002                   13                        <5
        E-25             8/21/2002                   90                        <3
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                      (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-25              2/26/2003                 20                          <5
        E-25               9/2/2003                 10                          <1
        E-25              2/23/2004                 10                          <3
        E-25              8/25/2004                 10                          <3
        E-25              3/27/2007                 3.5                         1.3
        E-25              9/13/2007                 3.1                         <2
        E-25              4/24/2008                 3.8                         <3
        E-25              11/7/2008                3.5 J                        <5
        E-25              4/30/2009                3.4 J                       <1.9
        E-25              11/5/2009                <3.7                       7.9 J
        E-25              4/23/2010                 <10                        <10
        E-25             10/13/2010                 ND                         ND
        E-25              5/11/2011                 ND                        4.5 J
        E-25              12/5/2011                 <10                        <10
        E-25              6/12/2012                7.3 J                       <10
        E-25              12/6/2012                0.77                      2.8 J B
        E-25              3/21/2013                 11                        6.0 B
        E-25               9/6/2013                 13                         NA
        E-25             12/26/2013                 14                       0.75 J
        E-25              3/18/2014                 7.7                         1.1
        E-25              6/12/2014                 13                       0.60 J
        E-25              9/23/2014                 11                       0.62 J
        E-25             12/22/2014                 9.8                         1.4
        E-25              3/12/2015                 8.0                      0.52 J
        E-25               6/3/2015                10.0                        <1.0
        E-25              9/22/2015                 6.7                        <2.0
        E-25           9/22/2015 (dup)              7.9                        <2.0
        E-25              3/29/2016                <1.0                         2.9
        E-25           3/29/2016 (dup)              1.4                         2.8
        E-25             11/21/2016                 5.9                        <2.0
        E-25          11/21/2016 (dup)              6.1                        <2.0
        E-25              6/27/2017                 1.8                         3.0
        E-25           6/27/2017 (dup)              2.4                         3.0
        E-25             11/16/2017                 3.9                         2.9

        E-26             7/21/1989                  <10                        <10
        E-26             1/12/1990                  <10                        <10
        E-26            10/29/1990                  38                         <10
        E-26             1/22/1991                  <20                        <10
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-26            10/23/1991                  19                              <5
        E-26             1/21/1992                  <10                             <5
        E-26             3/23/2007                  31                             1.4 J
        E-26             9/12/2007                  24                             5.4 J
        E-26             8/20/2013                              Well Abandoned

        E-27             7/21/1989                   90                              <10
        E-27             1/12/1990                  180                              <10
        E-27            10/30/1990                  300                              <10
        E-27              2/6/1991                  280                              <10
        E-27             3/27/2007                   32                              1 J
        E-27             9/13/2007                  2.4                              1 J
        E-27             4/28/2009                   10                             <1.9
        E-27          4/28/2009 (dup)                10                             <1.9
        E-27             11/5/2009                 <3.7                             8.5 J
        E-27             4/21/2010                   27                             3.2 J
        E-27          4/21/2010 (dup)                30                              <10
        E-27            10/12/2010                 9.1 J                             ND
        E-27             5/10/2011                   26                             3.0 J
        E-27             8/20/2013                              Well Abandoned

        E-28             3/21/2007                   20                              290
        E-28             9/12/2007                  200                              200
        E-28             4/23/2008                  180                              540
        E-28             11/5/2008                   42                              150
        E-28             4/28/2009                  250                              110
        E-28             11/6/2009                   20                              170
        E-28             2/10/2010                   14                              190
        E-28             4/21/2010                  <10                              180
        E-28            10/11/2010                   86                              130
        E-28             2/22/2011                   30                               67
        E-28             5/10/2011                   84                               96
        E-28             8/23/2011                  220                               99
        E-28             12/5/2011                  170                               89
        E-28          12/5/2011 (dup)               180                               90
        E-28              4/5/2012                   39                              110
        E-28             6/11/2012                   41                              120
        E-28             8/28/2012                  150                               98
        E-28          8/28/2012 (dup)               160                               96
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-28             12/3/2012                  200                        130
        E-28          12/3/2012 (dup)               200                        120
        E-28             3/21/2013                   31                       81 B
        E-28          3/21/2013 (dup)                30                       85 B
        E-28              9/5/2013                  150                         86
        E-28           9/5/2013 (dup)               150                        100
        E-28             3/18/2014                   83                        120
        E-28          3/18/2014 (dup)                81                        120
        E-28             9/22/2014                  210                         99
        E-28          9/22/2014 (dup)               220                         98
        E-28             3/12/2015                   13                         96
        E-28          3/12/2015 (dup)                13                         91
        E-28              9/22/2015                  77                        130
        E-28              3/30/2016                  26                        130
        E-28             11/22/2016                  28                         63
        E-28              6/27/2017                  56                        130
        E-28             11/20/2017                  66                         52

        E-29             9/24/2014                 <0.50                          NA
        E-29             3/10/2015                 <0.50                          NA
        E-29             9/22/2015                 <1.0                           NA
        E-29             3/29/2016                 <1.0                           NA
        E-29            11/21/2016                 <1.0                           NA
        E-29             6/27/2017                 <1.0                           NA
        E-29            11/20/2017                 <1.0                           NA

        E-30             3/27/2007                  170                        11
        E-30             9/12/2007                  400                        14
        E-30             4/23/2008                  400                        15
        E-30             11/6/2008                  530                        8.6
        E-30             4/28/2009                  210                       6.0 J
        E-30          4/28/2009 (dup)               200                       6.7 J
        E-30             11/5/2009                  250                        13
        E-30             2/10/2010                   93                        12
        E-30             4/21/2010                  310                       7.6 J
        E-30            10/12/2010                 1100                        13
        E-30             2/22/2011                  200                        11
        E-30             5/10/2011                  380                        10
        E-30             8/23/2011                 1100                       9.9 J
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-30             9/10/2011                              Well Abandoned

       E-30A              4/5/2012                  230                             4.3 J
       E-30A          4/5/2012 (dup)                260                             3.7 J
       E-30A             6/11/2012                  840                             3.6 J
       E-30A             8/28/2012                 1,100                            6.6 J
       E-30A             12/6/2012                  510                            6.2 JB
       E-30A          12/6/2012 (dup)               480                             3.8 J
       E-30A             3/21/2013                  320                            6.3 B
       E-30A              9/5/2013                  590                             4.2 J
       E-30A             3/18/2014                  380                              3.0
       E-30A             9/23/2014                  370                              3.1
       E-30A             3/13/2015                  240                              3.5
       E-30A             9/22/2015                  560                              5.6
       E-30A             3/30/2016                  260                              3.9
       E-30A            11/22/2016                  740                              4.6
       E-30A             6/27/2017                  390                              5.0
       E-30A            11/20/2017                  440                              5.1

        E-31              7/20/1989                 380                              <10
        E-31              1/11/1990                 260                              <10
        E-31             10/30/1990                 190                              <10
        E-31               2/6/1991                 150                              <10
        E-31             10/29/1991                 160                               <5
        E-31              1/23/1992                 140                               <5
        E-31              3/22/2007                  12                               2.3
        E-31              9/11/2007                 <2                                 4
        E-31              11/7/2008                 <10                               6.5
        E-31              3/17/2014                 9.8                              NA
        E-31              3/10/2015                <0.50                             NA
        E-31              9/22/2015                 NA                                3.3
        E-31              3/29/2016                  11                              <2.0
        E-31             11/22/2016                  18                               2.2
        E-31              6/27/2017                <1.0                               4.0
        E-31             11/16/2017                <1.0                               2.3
        E-31          11/16/2017 (dup)             <1.0                              <2.0

        E-32             7/20/1989                  430                              <10
        E-32          7/20/1989 (dup)               440                              <10
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                        (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
        E-32             1/10/1990                210                          <10
        E-32            10/30/1990                130                          <10
        E-32              2/5/1991                100                          <10
        E-32          2/5/1991 (dup)              120                          <10
        E-32              4/9/1991                 70                          <10
        E-32          4/9/1991 (dup)               80                           17
        E-32             7/24/1991                 50                          <10
        E-32            10/29/1991                180                           <5
        E-32             1/23/1992                 79                           <5
        E-32             7/22/1992                 44                           <5
        E-32              1/7/1993                 23                           <5
        E-32             7/13/1993                 18                          8.4
        E-32              4/7/1994                 20                            5
        E-32             4/26/2001                <10                           <5
        E-32          4/26/2001 (dup)             <10                           <5
        E-32             10/9/2001                2.6                           <5
        E-32              5/1/2002                4.6                           6.4
        E-32             2/25/2003                NA                            3.4
        E-32             2/18/2004                2.6                           <3
        E-32             3/22/2007                  5                           <2
        E-32          3/22/2007 (dup)             5.1                           <2
        E-32             9/11/2007                5.4                         .67 J
        E-32          9/11/2007 (dup)             5.3                        0.051 J
        E-32             4/23/2008                 37                           <2
        E-32           4/23/08 (dup)               37                           <2
        E-32             4/30/2009                 57                          <1.9
        E-32             11/6/2009               <3.7                         6.3 J
        E-32             4/23/2010                <10                       4.1 J (B)
        E-32            10/12/2010               4.1 J                        3.5 J
        E-32             5/11/2011                 50                         3.2 J
        E-32            10/25/2011                 26                         4.9 J
        E-32             6/12/2012                <10                          <10
        E-32             12/4/2012                5.1                          <10
        E-32             3/18/2013                1.7                         4.5 J
        E-32              9/4/2013                7.7                          NA
        E-32             3/17/2014                 15                           1.8
        E-32             9/22/2014                 12                         0.87 J
        E-32             3/12/2015                 24                           1.3
        E-32             9/22/2015               <1.0                           3.4
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-32             3/29/2016                  15                        <2.0
        E-32            11/21/2016                  7.6                       <2.0
        E-32             6/27/2017                  2.4                        5.8
        E-32            11/16/2017                  2.6                        5.5

       E-33               1/11/1990                 <20                        <10
       E-33              10/23/1990                 <20                        <10
       E-33           10/23/1990 (dup)              <20                        <10
       E-33               1/22/1991                 <20                        <10
       E-33                4/2/1991                 <20                        <10
       E-33               7/22/1991                 <20                        <10
       E-33              10/23/1991                 <10                        <5
       E-33               1/20/1992                 <10                        <5
       E-33               7/20/1992                 <10                        <5
       E-33                1/5/1993                 54                         <5
       E-33                7/7/1993                 <10                        <5
       E-33                4/5/1994                 <10                         4
       E-33               11/8/1994                 <10                        <2
       E-33                4/5/1995                 <10                        <2
       E-33              10/25/1995                 <10                         4
       E-33               4/30/1996                 <10                        <2
       E-33              10/29/1996                 <10                        <2
       E-33               4/23/1997                 <10                         2
       E-33              10/21/1997                 <10                         3
       E-33               5/18/1998                 <10                        <5
       E-33              10/21/1998                 <10                        <5
       E-33               4/26/1999                 <10                        <5
       E-33               4/30/2009                 57                        <1.9
       E-33              10/11/1999                 <10                        <5
       E-33               4/25/2000                 <10                        <5
       E-33               11/6/2000                 <10                        <5
       E-33               4/23/2001                 1.6                        NA
       E-33              10/10/2001                <2.5                        <5
       E-33               4/23/2002                 <1                         <5
       E-33               2/20/2003                 NA                         <1
       E-33               2/17/2004                <0.5                       <0.5
       E-33               3/21/2007                 <2                         <2
       E-33               9/11/2007                 <2                        1.3 J
       E-33               3/17/2014                <0.50                       NA
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                                                TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                       (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
       E-33              9/24/2014              <0.50                         NA
       E-33              3/24/2015              <0.50                          3.0
       E-33              9/22/2015              <0.50                         <2.0
       E-33              3/29/2016               <1.0                         <2.0
       E-33             11/22/2016               <1.0                         <2.0
       E-33              6/27/2017               <1.0                         <2.0
       E-33           6/27/2017 (dup)            <1.0                         <2.0
       E-33             11/16/2017               <1.0                          2.8

        E-34             1/12/1990                3800                         <10
        E-34          1/12/1990 (dup)             3800                         <10
        E-34             2/11/1991                2500                         <10
        E-34             4/11/1991                 260                         <10
        E-34              8/2/1991                2300                         <10
        E-34            10/30/1991                2100                         <5
        E-34             1/28/1992                2500                         <5
        E-34             7/23/1992                2200                         <5
        E-34             1/11/1993                 540                         <5
        E-34          1/11/1993 (dup)              540                         <5
        E-34             7/14/1993                 350                         <5
        E-34             4/12/1994                 240                         <2
        E-34             11/9/1994                 NA                          <2
        E-34            12/30/1994                 140                         <2
        E-34              4/7/1995                 230                         <2
        E-34            10/26/1995                 140                         <2
        E-34              5/2/1996                 140                         <2
        E-34            10/30/1996                 120                         <2
        E-34             4/23/1997                 100                         <2
        E-34            10/23/1997                  80                         <2
        E-34             5/21/1998                 100                         <5
        E-34            10/22/1998                 110                         <5
        E-34             4/28/1999                  90                         <5
        E-34            10/13/1999                  90                         7.1
        E-34             4/26/2000                  80                         <5
        E-34             11/7/2000                  65                         <5
        E-34             4/26/2001                  52                         <5
        E-34            10/10/2001                  50                         <5
        E-34             4/30/2002                  42                         <5
        E-34             8/21/2002                  40                         <3
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-34             2/27/2003                  50                        <5
        E-34              9/2/2003                  40                        <1
        E-34             2/23/2004                  <10                       6.5
        E-34             8/25/2004                  30                        <3
        E-34             3/27/2007                  19                         2
        E-34             9/13/2007                  57                        <2
        E-34             4/24/2008                  40                        <2
        E-34             11/7/2008                  69                       1.7 J
        E-34             3/20/2014                 <0.50                      NA
        E-34          3/20/2014 (dup)              <0.50                      NA
        E-34             9/24/2014                 <0.50                      NA
        E-34             3/12/2015                 <0.50                      NA
        E-34             9/22/2015                 <1.0                       6.6
        E-34             3/29/2016                 <1.0                       8.7
        E-34          3/29/2016 (dup)              <1.0                       8.2
        E-34            11/22/2016                  2.9                       4.2
        E-34             6/27/2017                 <1.0                       6.0
        E-34            11/20/2017                  1.4                       4.2

        E-35             1/11/1990                  <20                        <10
        E-35            10/24/1990                  <20                        <10
        E-35             1/17/1991                  <20                        <10
        E-35             7/20/1992                  <10                        <5
        E-35              7/7/1993                  <10                        <5
        E-35              4/5/1994                  <10                         3
        E-35              4/5/1995                  <10                        <2
        E-35              5/2/1996                  <10                         4
        E-35             4/23/1997                  <10                         3
        E-35             5/18/1998                  <10                        <5
        E-35             4/26/1999                  <10                        <5
        E-35             4/27/2000                  <10                        <5
        E-35             4/24/2001                  <10                        <5
        E-35             4/22/2002                   <1                        <2
        E-35             2/21/2003                  NA                         1.7
        E-35             2/17/2004                  <0.5                       <3
        E-35             3/26/2007                   <2                        3.5
        E-35             9/12/2007                   <2                       1.6 J
        E-35             3/20/2014                 0.27 J                      NA
        E-35             3/12/2015                 0.11 J                      NA
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-35             3/29/2016                 <1.0                       NA
        E-35             6/27/2017                 <1.0                       NA

        E-36             1/11/1990                  40                          <10
        E-36            10/24/1990                  <20                         <10
        E-36             1/17/1991                  <20                         <10
        E-36              4/2/1991                  <20                         <10
        E-36             7/22/1991                  <20                         <10
        E-36            10/24/1991                  14                         <0.5
        E-36             1/20/1992                  <10                        <0.5
        E-36             7/20/1992                  <10                        <0.5
        E-36          7/20/1992 (dup)               <10                        <0.5
        E-36              1/5/1993                  <10                        <0.5
        E-36              7/6/1993                  <10                        <0.5
        E-36              4/5/1994                  <10                          4
        E-36             11/7/1994                  <10                          6
        E-36              4/4/1995                  <10                         <2
        E-36            10/25/1995                  <10                          7
        E-36             4/30/1996                  <10                         <2
        E-36            10/29/1996                  <10                         <2
        E-36             4/23/1997                  <10                         <2
        E-36            10/21/1997                  <10                          3
        E-36             5/15/1998                  <10                        <0.5
        E-36            10/21/1998                  <10                        <0.5
        E-36             4/26/1999                  <10                        <0.5
        E-36            10/12/1999                  <10                        <0.5
        E-36             4/27/2000                 <13.4                       <0.5
        E-36             4/23/2001                  3.5                        <0.5
        E-36             10/9/2001                  5.6                        <0.5
        E-36             4/22/2002                  NA                          <2
        E-36             2/25/2003                  3.8                         4.1
        E-36             2/17/2004                  <2                          <3
        E-36             3/22/2006                  <2                          1.3
        E-36             9/11/2006                  <20                       0.85 J
        E-36             4/30/2009                 <3.0                        <1.9
        E-36             11/6/2009                 <3.7                        2.0 J
        E-36             4/23/2010                 8.4 J                        <10
        E-36            10/12/2010                  ND                          ND
        E-36             5/11/2011                  ND                          ND
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-36            10/26/2011                 <10                        <10
        E-36             6/12/2012                 <10                        <10
        E-36             12/4/2012                0.42 J                      <10
        E-36             3/18/2013               0.076 J                     3.3 J
        E-36              9/4/2013                0.45 J                      NA
        E-36             3/17/2014                0.43 J                     0.97 J
        E-36             9/22/2014                 0.78                      0.99 J
        E-36             3/10/2015                <0.50                      0.99 J
        E-36             9/22/2015                 <1.0                       <2.0
        E-36          9/22/2015 (dup)              <1.0                       <2.0
        E-36             3/30/2016                 <1.0                       <2.0
        E-36          3/30/2016 (dup)              <1.0                       <2.0
        E-36            11/22/2016                 <1.0                       <2.0
        E-36             6/27/2017                 <1.0                       <2.0
        E-36            11/20/2017                 <1.0                       <2.0

        E-37             1/11/1990                  <20                        <10
        E-37            10/24/1990                  <20                        <10
        E-37             1/17/1991                  <20                        <10
        E-37             4/22/2002                   <1                        <2
        E-37             2/21/2003                  <10                        1.1
        E-37             2/17/2004                  <10                        <3
        E-37             3/23/2007                   <2                        3.2
        E-37             9/12/2007                   <2                        2.5
        E-37             3/30/2016                  <1.0                       NA
        E-37             6/27/2017                  <1.0                       NA

        E-38            10/23/1990                  <20                        <10
        E-38             1/17/1991                  <20                        <10

        E-39            10/24/1990                  <20                        <10
        E-39             1/17/1991                  <20                        <10
        E-39             7/22/1992                  <10                        <0.5
        E-39             7/12/1993                  <10                        <0.5
        E-39              4/6/1994                  <10                         <2
        E-39              4/6/1995                  <10                         <2
        E-39            10/25/1995                  <10                         7
        E-39              5/1/1996                  <10                         <2
        E-39            10/30/1996                  <10                         4
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-39             4/29/1997                 <10                         <2
        E-39            10/23/1997                 <10                          4
        E-39             5/20/1998                 <10                        <0.5
        E-39            10/22/1998                 <10                        <0.5
        E-39             4/29/1999                 <10                        <0.5
        E-39            10/12/1999                 <10                        <0.5
        E-39             4/26/2000                 <10                        <0.5
        E-39             11/6/2000                 <10                        <0.5
        E-39             4/30/2001                 <1                         <0.5
        E-39             7/18/2001                 <1                         NA
        E-39             10/9/2001                 <10                        <0.5
        E-39             4/25/2002                 <1                         <0.5
        E-39             8/20/2002                 <1                          <3
        E-39             2/25/2003                 <10                         <1
        E-39             8/28/2003                 <10                         20
        E-39             2/19/2004                 <10                         <3
        E-39             8/24/2004                 <10                         <3

        E-40            10/25/1990                  <20                        <10
        E-40             1/17/1991                  <20                        <10
        E-40             11/6/2000                  <10                        <5
        E-40             4/25/2001                  <10                        <5
        E-40             3/23/2007                   <2                        1.7
        E-40             9/12/2007                   <2                        3.3
        E-40             4/23/2008                 0.87 J                      <2
        E-40           4/23/08 (dup)               0.87 J                      <2
        E-40             11/5/2008                  <10                        <5
        E-40            10/13/2010                  ND                         ND
        E-40             5/10/2011                  ND                         ND
        E-40            10/25/2011                  <10                       6.6 J
        E-40             3/18/2014                 <0.50                      <1.0
        E-40             9/24/2014                 <0.50                      <1.0
        E-40             3/10/2015                 <0.50                      <1.0
        E-40             9/22/2015                 <0.50                       2.1
        E-40             3/29/2016                  <1.0                      <2.0
        E-40            11/21/2016                  <1.0                      <2.0
        E-40             6/26/2017                  <1.0                      <2.0
        E-40            11/16/2017                  <1.0                      <2.0
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-41            10/30/1990                  150                       <10
        E-41              2/5/1991                  120                       <10
        E-41             7/22/1992                  100                       <5
        E-41             7/13/1993                  100                       <5
        E-41              4/7/1994                   60                       <2
        E-41              4/6/1995                   50                       <2
        E-41              5/3/1996                   40                        <2
        E-41             5/21/1997                   30                        3
        E-41             5/22/1998                   20                        <5
        E-41             4/30/1999                   20                        <5
        E-41             4/28/2000                   10                        <5
        E-41             4/26/2001                   11                        <5
        E-41             4/30/2002                   16                       5.6
        E-41             2/26/2003                   10                        <5
        E-41             2/23/2004                   10                        <3
        E-41             3/27/2007                    5                      1.2 J
        E-41             9/12/2007                  3.7                      1.2 J
        E-41             3/19/2013                  2.8                       <10
        E-41              9/4/2013                  2.9                       NA
        E-41             3/19/2014                  1.7                       NA
        E-41             3/13/2015                  3.3                       NA
        E-41             3/28/2016                  1.3                       NA
        E-41             6/26/2017                  1.9                       NA

        E-42            10/31/1990                  1200                       <10
        E-42              2/7/1991                  1400                       <10
        E-42             4/10/1991                  1200                       <10
        E-42              8/2/1991                  1300                       <10
        E-42            10/30/1991                  1200                       <5
        E-42             1/28/1992                   960                       <5
        E-42             7/23/1992                  1500                       <5
        E-42             1/11/1993                  1600                       <5
        E-42             7/14/1993                  1400                       <5
        E-42             4/12/1994                   580                       <2
        E-42             12/9/1994                   490                       <2
        E-42             4/10/1995                   420                       <2
        E-42              5/3/1996                   130                       <2
        E-42             5/21/1997                    70                       <2
        E-42             5/22/1998                    20                       <5
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-42            4/30/1999                   20                         <5
        E-42            4/28/2000                   10                         <5
        E-42            4/24/2001                   <10                        <5
        E-42            4/24/2002                   <10                        <5
        E-42            2/24/2003                   <10                       NA
        E-42            2/23/2004                   <10                        <3
        E-42            3/22/2007                   5.1                      1.4 J
        E-42            9/11/2007                    4                       7.5 J
        E-42            4/29/2009                  3.4 J                      <1.9
        E-42             11/6/2009                 <3.7                      5.2 J
        E-42             4/22/2010                  <10                       <10
        E-42            10/11/2010                 3.9 J                      ND
        E-42              5/9/2011                  ND                        ND
        E-42            10/24/2011                  <10                      4.2 J
        E-42            6/13/2012                   <10                       <10
        E-42            12/3/2012                   3.0                      3.2 J
        E-42            3/19/2013                   3.0                      2.0 J
        E-42             9/6/2013                   2.6                       NA
        E-42            3/19/2014                   2.8                       NA
        E-42             9/23/2014                  2.2                       NA
        E-42             3/13/2015                  2.8                       NA
        E-42             9/21/2015                  1.2                       NA
        E-42             3/28/2016                 <1.0                       NA
        E-42            11/21/2016                 <1.0                       NA
        E-42             6/26/2017                  1.9                       NA
        E-42            11/16/2017                  1.5                       NA

        E-43            10/29/1990                  94                         <10
        E-43              2/6/1991                  80                         <10
        E-43              4/9/1991                  80                         <10
        E-43             7/25/1991                  50                         <10
        E-43            10/29/1991                  71                         <5
        E-43             1/22/1992                  47                         <5
        E-43             7/22/1992                  33                         <5
        E-43              1/7/1993                  43                         <5
        E-43             7/13/1993                  32                         <5
        E-43             4/11/1994                  20                         <2
        E-43             12/8/1994                  20                         <2
        E-43              4/7/1995                  30                         <2
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-43             5/1/1996                    20                        <2
        E-43            5/20/1997                    10                         4
        E-43            5/20/1998                    20                        <5
        E-43            4/29/1999                    10                        <5
        E-43            4/27/2000                    10                        <5
        E-43            4/26/2001                   <10                        <5
        E-43            4/30/2002                    16                        <5
        E-43            2/26/2003                    10                        <5
        E-43            2/23/2004                    10                        <3
        E-43             3/22/2007                   5.1                     1.2 J
        E-43             9/11/2007                   4.1                     1.8 J
        E-43             4/29/2009                 4.3 J                      <1.9
        E-43             11/6/2009                  <3.7                     4.1 J
        E-43             4/21/2010                 3.7 J                      <10
        E-43            10/11/2010                  ND                        ND
        E-43              5/9/2011                  7.9 J                     3.2 J
        E-43            10/24/2011                 5.2 J                     3.4 J
        E-43             6/13/2012                 4.0 J                      <10
        E-43             12/6/2012                   4.9                      <10
        E-43             3/19/2013                   5.1                      <10
        E-43              9/4/2013                   5.6                       NA
        E-43             3/19/2014                   6.5                     0.93 J
        E-43             3/28/2016                  <1.0                       NA
        E-43             6/26/2017                  <1.0                       NA

        E-44            10/29/1990                  <20                        <10
        E-44             1/22/1991                  <20                        <10
        E-44              4/3/1991                  <20                        <10
        E-44             7/23/1991                  <20                        <10
        E-44            10/24/1991                  33                         <5
        E-44             1/21/1992                  18                         <5
        E-44             7/21/1992                   15                        <5
        E-44              1/5/1993                   27                        <5
        E-44              7/8/1993                   19                        <5
        E-44              4/5/1994                   30                         3
        E-44             11/8/1994                   10                        <2
        E-44              4/5/1995                  110                        <2
        E-44              5/2/1996                  160                        <2
        E-44             5/20/1997                  240                        <2
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-44             5/22/1998                  390                        <5
        E-44             4/28/1999                  520                        <5
        E-44             4/27/2000                  250                        <5
        E-44             4/30/2001                  150                        <5
        E-44             7/18/2001                   89                       NA
        E-44              5/1/2002                   77                        <5
        E-44             2/26/2003                  100                        <5
        E-44             2/24/2004                  110                        <3
        E-44             3/23/2007                  130                      1.6 J
        E-44             9/11/2007                  120                      .94 J
        E-44             4/28/2009                  110                       <1.8
        E-44             11/6/2009                   98                      3.6 J
        E-44             4/21/2010                   88                      1.8 J
        E-44             10/11/2010                  70                       ND
        E-44               5/9/2011                  67                       ND
        E-44             10/24/2011                  50                      5.9 J
        E-44             6/13/2012                   42                      4.9 J
        E-44             12/3/2012                   39                      3.1 J
        E-44             3/19/2013                   32                      2.2 J
        E-44              9/5/2013                   29                       NA
        E-44             3/17/2014                   26                      0.61 J
        E-44             9/23/2014                   22                      0.75 J
        E-44              3/5/2015                   24                      0.75 J
        E-44              9/22/2015                  14                       <2.0
        E-44              3/28/2016                  16                       <2.0
        E-44             11/21/2016                  14                       <2.0
        E-44          11/21/2016 (dup)               14                       <2.0
        E-44              6/26/2017                  11                       <2.0
        E-44             11/16/2017                  11                        2.5

        E-45            10/31/1990                  540                        <10
        E-45              2/7/1991                  710                        <10
        E-45             4/10/1991                  350                        <10
        E-45              8/2/1991                  500                        <10
        E-45            10/29/1991                  170                        <5
        E-45            1/28/1992                   360                        <5
        E-45            7/23/1992                   260                        <5
        E-45             1/7/1993                   390                        <5
        E-45            7/14/1993                   420                        <5
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-45             4/11/1994                  470                       <2
        E-45             12/9/1994                  350                       <2
        E-45              4/7/1995                  230                       <2
        E-45              5/3/1996                  140                       <2
        E-45             5/21/1997                  100                       <2
        E-45             5/22/1998                   70                       <5
        E-45             4/28/1999                   60                       5.7
        E-45             4/28/2000                   30                        5
        E-45             4/26/2001                   16                        <5
        E-45             4/30/2002                   16                        <5
        E-45             2/26/2003                   10                        <5
        E-45             2/23/2004                   10                        <3
        E-45             3/27/2007                  9.9                        <2
        E-45          3/27/2007 (dup)               9.8                        <2
        E-45             9/11/2007                  9.4                      7.1 J
        E-45          9/11/2007 (dup)               9.2                      6.6 J
        E-45             11/6/2009                 8.1 J                     4.0 J
        E-45             4/22/2010                 8.0 J                      <10
        E-45            10/13/2010                 9.4 J                      ND
        E-45              5/9/2011                 6.6 J                      ND
        E-45            10/26/2011                 5.2 J                     2.5 J
        E-45             6/14/2012                 4.1 J                      <10
        E-45             12/4/2012                  5.9                       <10
        E-45             3/19/2013                    6                      2.2 J
        E-45              9/6/2013                  4.8                       NA
        E-45             3/17/2014                  5.7                       NA
        E-45             3/24/2015                  4.1                       NA
        E-45             3/29/2016                 <1.0                       NA
        E-45             6/26/2017                  2.8                       NA

        E-46            10/29/1990                   30                        <10
        E-46              2/7/1991                  710                        <10
        E-46              4/8/1991                  <20                        <10
        E-46             7/24/1991                  <20                        <10
        E-46            10/28/1991                   15                        <5
        E-46             1/22/1992                   13                        <5
        E-46             7/22/1992                  <10                        <5
        E-46              1/6/1993                   25                        <5
        E-46             7/12/1993                  <10                        <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-46              4/6/1994                 <10                         <2
        E-46             12/9/2004                 <10                         3
        E-46              4/6/1995                 <10                         <2
        E-46             4/30/1996                 <10                         <2
        E-46             4/25/1997                 <10                         2
        E-46             5/18/1998                 <10                         <5
        E-46             4/27/1999                 <10                         <5
        E-46             4/25/2000                 <10                         <5
        E-46             4/24/2001                  1.4                        <5
        E-46             4/24/2002                  1.1                        <5
        E-46             2/24/2003                 <10                         <1
        E-46             2/19/2004                 <10                         <3
        E-46             3/22/2007                  <2                       .94 J
        E-46             9/11/2007                  <2                          4
        E-46             3/19/2014                 0.59                       NA
        E-46              3/5/2015                0.49 J                      NA
        E-46             3/29/2016                 <1.0                       NA
        E-46             6/26/2017                 <1.0                       NA

        E-47            10/29/1990                  <20                        <10
        E-47             1/22/1991                  <20                        <10
        E-47            10/10/1991                   2.9                       <5
        E-47             4/25/2002                   4.8                       <5
        E-47             2/24/2003                  NA                         <1
        E-47             2/23/2004                   5.4                       <3
        E-47             3/26/2007                   3.2                      1.5 J
        E-47             9/11/2007                   3.5                      5.7 J
        E-47             3/20/2014                  0.92                       NA
        E-47             9/23/2014                   3.9                       NA
        E-47              3/5/2015                   3.5                       NA
        E-47             9/21/2015                   1.3                       NA
        E-47             3/28/2016                   1.5                       NA
        E-47            11/21/2016                  <1.0                       NA
        E-47             6/26/2017                   2.4                       NA
        E-47            11/16/2017                   2.8                       NA

        E-48            10/31/1990                  1100                       <10
        E-48             2/7/1991                    730                       <10
        E-48            10/24/1991                   620                       <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-48             7/23/1992                  340                             <5
        E-48             7/14/1993                   97                             <5
        E-48             4/12/1994                  260                             <2
        E-48             4/10/1995                  110                              2
        E-48              5/2/1996                   50                             <2
        E-48             5/20/1997                   50                              2
        E-48             5/21/1998                   30                              <5
        E-48             4/28/1999                   30                              <5
        E-48             4/27/2000                   10                              <5
        E-48             4/25/2001                   13                              <5
        E-48             4/24/2002                  <10                              <5
        E-48             2/21/2003                   10                              <1
        E-48             2/23/2004                  <10                              <3
        E-48             3/23/2007                  <2                              2.5
        E-48             9/11/2007                  <2                             1.8 J
        E-48             8/20/2013                              Well Abandoned

        E-49            10/30/1990                  320                              <10
        E-49              2/6/1991                  390                              <10
        E-49             4/10/1991                  330                              <10
        E-49             7/25/1991                  250                              <10
        E-49            10/29/1991                  340                              <5
        E-49             1/28/1992                  200                              <5
        E-49             7/23/1992                  130                              <5
        E-49              1/7/1993                  130                              <5
        E-49             7/13/1993                  100                              <5
        E-49             4/11/1994                   90                              <2
        E-49             12/8/1994                   90                              <2
        E-49              4/7/1995                   70                               3
        E-49              5/2/1996                   50                              <2
        E-49             5/20/1997                   40                              <2
        E-49             5/21/1998                   50                              <5
        E-49             4/28/1999                   50                              <5
        E-49             4/27/2000                   50                              <5
        E-49             4/30/2001                   67                              <5
        E-49             7/18/2001                   37                              NA
        E-49              5/1/2002                   35                              <5
        E-49             2/26/2003                   30                              <5
        E-49             2/24/2004                   20                              <3
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-49             3/22/2007                  22                         <2
        E-49             9/11/2007                  22                         2.4
        E-49              4/29/2009                 25                        <1.9
        E-49             11/6/2009                  21                       3.6 J
        E-49              4/22/2010                 22                        <10
        E-49             10/11/2010                 20                        ND
        E-49               5/9/2011                 19                        ND
        E-49             10/25/2011                 15                       4.5 J
        E-49             6/13/2012                  14                        ND
        E-49             12/3/2012                  16                       2.3 J
        E-49             3/19/2013                  14                       2.5 J
        E-49              9/4/2013                  13                        NA
        E-49             3/19/2014                  13                        NA
        E-49             9/23/2014                  10                        NA
        E-49              3/5/2015                  10                        NA
        E-49              9/22/2015                 5.5                       NA
        E-49              3/28/2016                 8.0                       NA
        E-49             11/21/2016                 5.3                       NA
        E-49              6/26/2017                 4.2                       NA
        E-49             11/16/2017                 6.4                       NA
        E-49          11/16/2017 (dup)              5.4                       NA

        E-50            10/29/1990                  300                        <10
        E-50              2/5/1991                   66                        <10
        E-50              4/8/1991                  <20                        <10
        E-50             7/24/1991                   40                        <10
        E-50            10/28/1991                  110                        <5
        E-50             1/23/1992                   62                        <5
        E-50             7/22/1992                   98                        <5
        E-50              1/6/1993                   71                        <5
        E-50             7/13/1993                   86                        <5
        E-50              4/7/1994                   80                        <2
        E-50             12/8/1994                   60                        <2
        E-50              4/6/1995                  <10                         3
        E-50              5/2/1996                   20                        <2
        E-50             5/20/1997                  <10                         4
        E-50             5/21/1998                  <10                        <5
        E-50             4/28/1999                  <10                        <5
        E-50             4/27/2000                  <10                        <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-50             4/26/2001                  <1                         <5
        E-50             4/29/2002                  <1                         <5
        E-50             2/24/2003                 NA                          1.8
        E-50             2/18/2004                 <0.5                        <3
        E-50             3/27/2007                  <2                       1.7 J
        E-50             9/12/2007                  <2                        .8 J
        E-50             4/29/2009                  <3                        <1.9
        E-50             11/6/2009                 <3.7                      3.7 J
        E-50             4/22/2010                 <10                       3.3 J
        E-50            10/13/2010                 ND                         ND
        E-50             5/11/2011                 ND                         ND
        E-50            10/24/2011                 <10                       5.2 J
        E-50             6/14/2012                 <10                        <10
        E-50             3/19/2014                0.31 J                      NA
        E-50             3/12/2015                <0.50                       NA
        E-50             3/28/2016                 <1.0                       NA
        E-50          3/28/2016 (dup)              <1.0                       NA
        E-50             6/26/2017                 <1.0                       NA

        E-51            10/31/1990                 2500                        <10
        E-51              2/7/1991                 2900                        <10
        E-51             4/10/1991                 1300                        <10
        E-51              8/2/1991                 2000                        <10
        E-51            10/30/1991                 2400                        <5
        E-51             1/28/1992                 2600                        <5
        E-51             7/23/1992                 1700                        <5
        E-51             1/11/1993                 1800                        <5
        E-51             7/14/1993                 2200                        <5
        E-51             4/12/1994                  650                        <2
        E-51             12/9/1994                  420                         2
        E-51             4/10/1995                  320                        <2
        E-51              5/3/1996                  140                        <2
        E-51             5/21/1997                   80                        <2
        E-51             5/22/1998                   50                        <5
        E-51             4/30/1999                   50                        <5
        E-51             4/28/2000                   40                        6.1
        E-51             4/30/2001                   73                        <5
        E-51             7/18/2001                   30                        NA
        E-51             4/30/2002                   32                        7.3
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-51            4/26/2003                    30                        <5
        E-51            2/24/2004                    30                        <3
        E-51            3/22/2007                    41                      1.0 J
        E-51            9/11/2007                    40                      1.2 J
        E-51            11/6/2009                    33                      5.3 J
        E-51             4/22/2010                   15                      2.7 J
        E-51            10/11/2010                   26                       ND
        E-51              5/9/2011                   10                       ND
        E-51            10/26/2011                   17                      2.8 J
        E-51             6/13/2012                   19                       <10
        E-51             12/3/2012                   29                      6.6 J
        E-51             3/19/2013                   14                       <10
        E-51             3/19/2014                   14                       NA
        E-51             9/23/2014                   17                       NA
        E-51              3/5/2015                   15                       NA
        E-51             9/21/2015                   5.7                      NA
        E-51             3/28/2016                  <1.0                      NA
        E-51            11/21/2016                   8.6                      NA
        E-51             6/26/2017                   5.0                      <2.0
        E-51            11/16/2017                   9.2                      NA

        E-52            10/25/1990                  <20                        <10
        E-52             1/23/1991                  <20                        <10
        E-52              4/3/1991                  <20                        <10
        E-52             7/23/1991                  <20                        <10
        E-52            11/20/1991                  <10                        <5
        E-52             1/21/1992                  <10                        <5
        E-52             7/21/1992                  <10                        <5
        E-52              1/6/1993                  <10                        <5
        E-52             7/12/1993                  <10                        <5
        E-52              4/6/1994                  <10                        <2
        E-52             12/8/1994                  <10                        <2
        E-52              4/5/1995                  <10                        <2
        E-52              5/1/1996                  <10                        <2
        E-52             4/25/1997                  <10                        <2
        E-52             5/20/1998                  <10                        <5
        E-52             4/27/1999                  <10                        5.4
        E-52             4/25/2000                  <10                        <5
        E-52             4/25/2001                  <1                         <5
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-52             4/24/2002                 <1                                <5
        E-52             2/21/2003                 <10                               <1
        E-52             2/18/2004                 <10                               <3
        E-52             3/23/2007                 <2                               1.0 J
        E-52             9/11/2007                 <2                              0.85 J
        E-52             8/20/2013                              Well Abandoned

        E-53            10/25/1990                  <20                              <10
        E-53             1/23/1991                  <20                              <10
        E-53            10/24/1991                  <10                              <5
        E-53             1/22/1992                  <10                              <5
        E-53             7/21/1992                  <10                              <5
        E-53             7/12/1993                  <10                              <5
        E-53              4/6/1994                  <10                              <2
        E-53             11/8/1994                  <10                              <2
        E-53              4/5/1995                  <10                              <2
        E-53            10/25/1995                  <10                              <2
        E-53              5/1/1996                  <10                              <2
        E-53            10/30/1996                  <10                               2
        E-53             4/25/1997                  <10                              <2
        E-53            10/23/1997                  <10                              <2
        E-53             5/19/1998                  <10                              <5
        E-53            10/22/1998                  <10                              <5
        E-53             4/27/1999                  <10                              <5
        E-53            10/12/1999                  <10                              <5
        E-53             4/25/2000                  <10                              <5
        E-53             11/6/2000                  <10                              <5
        E-53             4/25/2001                  <1                               <5
        E-53            10/10/2001                 <2.5                              <5
        E-53             4/25/2002                  <1                               <5
        E-53             8/20/2002                  <1                               <3
        E-53             2/21/2003                  <.5                              1.2
        E-53             8/28/2003                  <.5                              1.2
        E-53             2/19/2004                  <.5                              <3
        E-53             8/24/2004                  <.5                              <3
        E-53             3/22/2007                  <2                               3.7
        E-53             9/11/2007                  <2                               5.7
        E-53             4/23/2008                 1.4 J                             <2
        E-53             11/6/2008                 3.7 J                             <5
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-53             8/19/2013                              Well Abandoned

        E-54            10/25/1990                  <20                              <10
        E-54            12/24/1990                  <20                              <10
        E-54              4/3/1991                  <20                              <10
        E-54             7/23/1991                  <20                              <10
        E-54            10/24/1991                  <10                               <5
        E-54             1/22/1992                  <10                               <5
        E-54             1/23/1996                  <10                               <5
        E-54              1/6/1993                   12                               <5
        E-54             7/12/1993                  <10                               <5
        E-54              4/6/1994                  <10                               <2
        E-54             11/8/1994                  <10                               <2
        E-54              4/5/1995                  <10                                3
        E-54            10/25/1995                  <10                                5
        E-54              5/1/1996                  <10                               <2
        E-54            10/30/1996                  <10                                2
        E-54             4/25/1997                  <10                               <2
        E-54            10/23/1997                  <10                                2
        E-54             5/19/1998                  <10                               <5
        E-54            10/22/1998                  <10                               <5
        E-54             4/27/1999                  <10                               <5
        E-54            10/12/1999                  <10                               <5
        E-54             4/25/2000                  <10                               <5
        E-54             11/6/2000                   15                               <5
        E-54             4/25/2001                  <10                               <5
        E-54             4/25/2002                  <10                              7.7
        E-54             8/20/2002                  <1                                <3
        E-54             2/21/2003                  <10                               <1
        E-54             8/28/2003                  <10                              1.1
        E-54             2/19/2004                  <10                               <3
        E-54             8/24/2004                  <10                               10
        E-54             3/22/2007                  <2                               2.9
        E-54             9/11/2007                  <2                              .72 J
        E-54             4/23/2008                  5.7                              3.3
        E-54             11/6/2008                 4.8 J                              <5
        E-54             8/19/2013                              Well Abandoned

        E-55            12/13/1990                  <20                              <10
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                   147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                        DISSOLVED HEXAVALENT               DISSOLVED
     WELL                                  CHROMIUM (CrVI)                  ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                 (µg/l)                       (µg/l)
                                              MCL: 10 µg/l                 MCL: 10 µg/l
        E-55              2/5/1991               <20                          <10
        E-55             1/21/1992               <10                          <5
        E-55            10/28/1991               <10                          <5
        E-55             4/25/2002                <1                          <5
        E-55             2/24/2003               <10                          <1
        E-55             2/18/2004               <10                          <3
        E-55             3/26/2007                <2                           <2
        E-55          3/26/2007 (dup)             <2                         1.4 J
        E-55             9/11/2007                <2                           <2
        E-55          9/11/2007 (dup)             <2                         4.5 J
        E-55             6/13/2012                19                          ND
        E-55             12/3/2012                29                         6.6 J
        E-55             3/20/2014              0.34 J                        NA
        E-55             9/23/2014              0.21 J                        NA
        E-55              3/5/2015              0.31 J                        NA
        E-55             9/21/2015               4.4                          NA
        E-55             3/28/2016               3.0                          NA
        E-55            11/21/2016               4.7                          NA
        E-55             6/26/2017               3.7                          NA
        E-55            11/16/2017               3.9                          NA

        E-56            12/13/1990                140                          <10
        E-56             1/23/1991                160                          <10
        E-56              2/5/1991                170                          <10
        E-56              4/9/1991                 30                          <10
        E-56             7/25/1991                160                          <10
        E-56            10/29/1991                160                          <5
        E-56             1/23/1992                150                          <5
        E-56             7/22/1992                160                          <5
        E-56          7/22/1992 (dup)             160                          <5
        E-56              1/7/1993                150                          <5
        E-56             7/13/1993                170                          <5
        E-56              4/7/1994                <10                          <2
        E-56             12/8/1994                <10                          <2
        E-56              4/6/1995                 20                          <2
        E-56              5/1/1996                <10                          <2
        E-56             4/29/1997                <10                           3
        E-56             4/27/1999                <10                          <5
        E-56             4/25/2000                <10                          <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-56            4/25/2001                   <1                              <5
        E-56            10/9/2001                  <2.5                             <5
        E-56            3/23/2007                    4                              3.4
        E-56            9/11/2007                   3.2                             3.3
        E-56            4/30/2009                   <3                             2.0 J
        E-56             11/6/2009                 <3.7                            6.2 J
        E-56             4/22/2010                 <10                             2.5 J
        E-56            10/13/2010                 ND                              2.7 J
        E-56             5/11/2011                 ND                               ND
        E-56            10/25/2011                 <10                             7.0 J
        E-56            6/14/2012                  <10                              <10
        E-56            3/18/2013                  0.55                            4.3 J
        E-56            8/19/2013                               Well Abandoned

        E-57             12/13/1990                 300                              <10
        E-57               2/6/1991                 440                              <10
        E-57               4/9/1991                 460                              <10
        E-57              7/25/1991                 330                              <10
        E-57             10/29/1991                 650                               <5
        E-57              1/23/1992                 270                               <5
        E-57              7/23/1992                 350                               <5
        E-57               1/7/1993                 470                               <5
        E-57           1/7/1993 (dup)               360                               <5
        E-57              7/13/1993                 370                               <5
        E-57              4/11/1994                 390                               <2
        E-57              11/9/1994                 450                               <2
        E-57               4/7/1995                 490                               <2
        E-57               5/3/1996                 380                               <2
        E-57              5/21/1997                 210                               <2
        E-57              5/22/1998                 170                               <5
        E-57              4/30/1999                 110                               <5
        E-57              4/28/2000                  20                               <5
        E-57              4/30/2001                  68                               <5
        E-57              7/18/2001                  56                              NA
        E-57              4/30/2002                  41                               <5
        E-57              2/27/2003                  40                               <5
        E-57              2/24/2004                  20                               <3
        E-57              3/27/2007                  18                             1.6 J
        E-57              9/13/2007                  14                             .72 J
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                      (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-57          9/13/2007 (dup)                14                        <10
        E-57             4/29/2009                  <3.0                      2.0 J
        E-57             11/6/2009                  <3.7                      4.1 J
        E-57            10/24/2011                  <10                       5.8 J
        E-57             6/12/2012                  <10                        <10
        E-57             12/6/2012                   2.0                     4.0 JB
        E-57             3/19/2013                   1.2                      2.7 J
        E-57              9/6/2013                 0.21 J                      NA
        E-57             3/19/2014                   3.6                       NA
        E-57             3/24/2015                   1.6                       NA
        E-57             3/29/2016                  <1.0                       NA
        E-57             6/26/2017                   1.3                       NA

        E-58            12/13/1990                  <20                        <10
        E-58             1/24/1991                  <20                        <10
        E-58              4/3/1991                  <20                        <10
        E-58             7/24/1991                  <20                        <5
        E-58            10/28/1991                  <10                        <5
        E-58             1/22/1992                  <10                        <5
        E-58             7/21/1992                  <10                        <5
        E-58              1/6/1993                  <10                        <5
        E-58             7/12/1992                  <10                        <5
        E-58              4/6/1994                  <10                        <2
        E-58             11/8/1994                  <10                        <2
        E-58              4/6/1995                  <10                         4
        E-58            10/25/1995                  <10                        <2
        E-58              5/1/1996                  <10                         3
        E-58            10/30/1996                  <10                        <2
        E-58             4/25/1997                  <10                         3
        E-58            10/23/1997                  <10                        <5
        E-58             5/20/1998                  <10                        <5
        E-58            10/22/1998                  <10                        <5
        E-58             4/27/1999                  <10                        <5
        E-58            10/12/1999                  <10                        <5
        E-58             4/26/2000                  <10                        <5
        E-58             11/7/2000                  <10                        <5
        E-58             4/25/2001                  <10                        <5
        E-58            10/10/2001                  <2.5                       <5
        E-58             4/24/2002                   <1                        <5
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-58             8/20/2002                 <1                                <3
        E-58             2/21/2003                 <5                                1
        E-58             8/28/2003                 <5                                <1
        E-58             2/19/2004                 <5                                <3
        E-58             8/24/2004                 <5                                <3
        E-58             3/22/2007                 <2                              .91 J
        E-58             9/11/2007                 <2                              1.2 J
        E-58             4/23/2008                1.2 J                            1.2 J
        E-58             11/5/2008                 <10                               <5
        E-58             8/19/2013                              Well Abandoned

        E-59             11/26/1991                 <10                              <5
        E-59              1/20/1992                 <10                              <5
        E-59              7/21/1992                 <10                              <5
        E-59               1/4/1993                 <10                              <5
        E-59              7/12/1993                 <10                              <5
        E-59               4/6/1994                 <10                              <2
        E-59              11/7/1994                 <10                               4
        E-59               4/5/1995                 <10                              <2
        E-59             10/26/1995                 <10                               6
        E-59               5/1/1996                 <10                              <2
        E-59             10/30/1996                 <10                              <2
        E-59              4/25/1997                 <10                              <2
        E-59             10/23/1997                 <10                              <2
        E-59              5/19/1998                 <10                              <5
        E-59             10/22/1998                 <10                              <5
        E-59              4/27/1999                 <10                              <5
        E-59             10/12/1999                 <10                              <5
        E-59          10/12/1999 (dup)              <10                              <5
        E-59              4/25/2000                 <10                              <5
        E-59              11/7/2000                  1.7                             <5
        E-59              4/24/2001                  2.3                             <5
        E-59             10/10/2001                 <2.5                             <5
        E-59              7/24/2002                  1.6                             <5
        E-59              8/21/2002                  2.1                             <3
        E-59              2/25/2003                  2.1                              1
        E-59               9/3/2003                  1.9                             <1
        E-59              2/19/2004                  1.8                             <3
        E-59              8/24/2004                  1.8                             <3
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        E-59             3/23/2007                1.6 J                            1.6 J
        E-59             9/12/2007                  <2                             .72 J
        E-59             4/23/2008                  2.8                            1.1 J
        E-59             11/6/2008                5.8 J                              <5
        E-59             3/30/2016                 <1.0                             NA
        E-59             6/27/2017                 <1.0                             NA

        E-60             12/13/1990                 45                               <10
        E-60              1/24/1991                 <20                              <10
        E-60               4/8/1991                 30                               <10
        E-60              7/24/1991                 20                               <10
        E-60             10/28/1991                 28                               <5
        E-60              1/22/1992                 43                               <5
        E-60              7/22/1992                 20                               <5
        E-60               1/6/1993                  26                              <5
        E-60              7/12/1993                  27                              <5
        E-60               4/7/1994                  30                              <2
        E-60              12/8/1994                  20                               2
        E-60               4/6/1995                  10                              <2
        E-60             10/26/1995                  10                              <2
        E-60               5/1/1996                  10                              <2
        E-60             10/30/1996                 <10                              <2
        E-60              4/29/1997                 <10                              <2
        E-60              5/20/1998                 <10                              <5
        E-60             10/22/1998                 <10                              <5
        E-60              4/27/1999                 <10                              <5
        E-60             10/12/1999                 <10                              <5
        E-60              4/27/2000                 <10                              <5
        E-60              11/7/2000                 3.7                              <5
        E-60              4/25/2001                 3.9                              <5
        E-60             10/10/2001                   3                              <5
        E-60          10/10/2001 (dup)              3.5                              <5
        E-60              4/30/2002                 4.3                               8
        E-60              2/24/2003                 <10                              <1
        E-60              2/18/2004                 <10                              <3
        E-60              3/23/2007                 3.9                             1.3 J
        E-60              9/11/2007                   3                              <2
        E-60              4/23/2008                 5.8                             1.4 J
        E-60              8/19/2013                             Well Abandoned
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                    147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                         DISSOLVED HEXAVALENT              DISSOLVED
     WELL                                   CHROMIUM (CrVI)                 ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                  (µg/l)                      (µg/l)
                                               MCL: 10 µg/l                MCL: 10 µg/l

        E-61            11/26/1991                  39                          <5
        E-61             1/22/1992                  58                          <5
        E-61             7/21/1992                  60                          <5
        E-61              1/6/1993                  73                          <5
        E-61             7/13/1993                  78                          <5
        E-61              4/7/1994                  80                          <2
        E-61             12/8/1994                  70                          <2
        E-61              4/6/1995                  50                          <2
        E-61              5/2/1996                  10                          <2
        E-61             5/20/1997                 <10                          <2
        E-61             5/21/1998                 <10                          <5
        E-61             4/28/1999                 <10                          <5
        E-61             4/27/2000                 <10                          <5
        E-61             4/25/2001                  <1                          <5
        E-61             4/29/2002                  1.5                         <5
        E-61             2/24/2003                  <5                          <1
        E-61             2/18/2004                 0.84                         <3
        E-61             3/27/2007                  <2                        1.5 J
        E-61             9/12/2007                  <2                        .42 J
        E-61             3/20/2014                0.25 J                       NA
        E-61             3/12/2015                <0.50                        NA
        E-61             3/28/2016                 <1.0                        NA
        E-61             6/26/2017                 <1.0                        NA
        E-61          6/26/2017 (dup)              <1.0                        NA

        E-62             11/26/1991                <10                            <5
        E-62              1/21/1992                <10                            <5
        E-62              7/21/1992                <10                            <5
        E-62               1/5/1993                14                             <5
        E-62           1/5/1993 (dup)              48                             <5
        E-62              7/12/1993                <10                            <5
        E-62               4/6/1994                <10                            <2
        E-62              11/8/1994                <10                            <2
        E-62               4/6/1995                <10                            <2
        E-62             10/26/1995                <10                             3
        E-62               5/1/1996                <10                            <2
        E-62             10/30/1996                <10                            <2
        E-62              4/29/1997                <10                             2
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
        E-62             10/23/1997                <10                         <2
        E-62              5/20/1998                <10                         <5
        E-62             10/22/1998                <10                         <5
        E-62              4/27/1999                <10                         <5
        E-62             10/12/1999                <10                         <5
        E-62              4/25/2000                <10                         <5
        E-62              11/7/2000                 <1                         <5
        E-62              4/25/2001                 <1                         <5
        E-62              4/25/2002                 <1                         <5
        E-62              2/21/2003                <10                         <1
        E-62              2/19/2004                <10                         <3
        E-62              3/23/2007               1.1 J                      1.2 J
        E-62              9/11/2007                 <2                       1.6 J
        E-62               9/6/2013                 0.6                       NA
        E-62              3/18/2014                0.76                      0.70 J
        E-62              9/22/2014                0.59                      0.51 J
        E-62              3/10/2015                0.81                       <1.0
        E-62              9/22/2015                <1.0                        2.4
        E-62              3/29/2016                <1.0                       <2.0
        E-62             11/21/2016                <1.0                       <2.0
        E-62              6/26/2017                <1.0                        2.1
        E-62             11/16/2017                <1.0                        3.8
        E-62          11/16/2017 (dup)             <1.0                        3.9

        EX               4/18/1989                  400                        <10
        EX               1/15/1990                  530                        <10
        EX              10/30/1990                  520                        <10
        EX                2/6/1991                  340                        <10
        EX                4/9/1991                  160                        <10
        EX               7/25/1991                  360                        <10
        EX               1/23/1992                  290                        <10
        EX              10/29/1992                  350                        <5
        EX                1/7/1993                  200                        15
        EX               4/11/1994                  210                        <2
        EX               11/9/1994                  NA                         11
        EX              12/16/1994                  100                        NA
        EX                4/7/1995                  220                         5
        EX              10/26/1995                  100                        <2
        EX                5/3/1996                  130                        <2
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                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                       DISSOLVED
     WELL                                    CHROMIUM (CrVI)                          ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                                (µg/l)
                                                MCL: 10 µg/l                         MCL: 10 µg/l
        EX              10/30/1996                  110                                   12
        EX               5/20/1997                  260                                    3
        EX              10/23/1997                  470                                    3
        EX               5/21/1998                   80                                   <5
        EX              10/22/1998                   60                                   <5
        EX               4/29/1999                  120                                   <5
        EX              10/13/1999                  110                                   8.5
        EX               4/26/2000                  110                                   5.3
        EX               11/7/2000                  <10                                   <5
        EX               4/26/2001                   66                                   <5
        EX              10/10/2001                   79                                   <5
        EX               4/30/2002                   46                                   <5
        EX               8/21/2002                   40                                   <3
        EX               2/26/2003                   70                                   <5
        EX                9/2/2003                   12                                   11
        EX               2/24/2004                  100                                   5.6
        EX               8/25/2004                  170                                   <3
        EX               11/7/2008                  400                                   5.6
        EX               4/28/2009                  440                                 4.7 J
        EX            4/28/2009 (dup)               210                                 4.9 J
        EX               11/5/2009                  280                                   18
        EX               4/21/2010                   35                                   10
        EX            4/21/2010 (dup)                33                                   13
        EX              10/12/2010                   36                                 8.2 J
        EX               5/10/2011                  480                                  6.3 J
        EX              10/10/2013                             Well Buried During Excavation

       EX-2              1/28/1992                  630                                  <5
       EX-2              7/23/1992                  770                                  <5
       EX-2              1/11/1993                  810                                  <5
       EX-2              4/11/1994                  550                                  <2
       EX-2              11/9/1994                  NA                                    5
       EX-2             12/16/1994                  490                                  NA
       EX-2               4/7/1995                  530                                  <2
       EX-2             10/26/1995                  350                                   4
       EX-2               5/3/1996                  340                                  <2
       EX-2             10/30/1996                  240                                  <2
       EX-2              4/23/1997                  280                                  <2
       EX-2             10/23/1997                  210                                  <2
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                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT             DISSOLVED
     WELL                                    CHROMIUM (CrVI)                ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                     (µg/l)
                                                MCL: 10 µg/l               MCL: 10 µg/l
       EX-2               5/22/1998                 200                        <5
       EX-2              10/22/1998                 260                        <5
       EX-2               4/30/1999                 170                        <5
       EX-2              10/13/1999                 140                        7
       EX-2               4/26/2000                 130                        <5
       EX-2               11/7/2000                 130                        <5
       EX-2               4/26/2001                  84                        <5
       EX-2              10/10/2001                 100                        26
       EX-2               4/30/2002                  93                        <5
       EX-2               8/21/2002                  90                        <3
       EX-2               2/26/2003                  80                        <1
       EX-2                9/2/2003                  80                        <1
       EX-2               2/24/2004                  80                        <3
       EX-2               8/25/2004                  60                        <3
       EX-2               3/27/2007                  71                      1.5 J
       EX-2               9/13/2007                  87                      .72 J
       EX-2               4/24/2008                  62                        <2
       EX-2               11/6/2008                  65                      1.8 J
       EX-2               4/29/2009                  56                       <1.9
       EX-2               11/5/2009                  63                      7.5 J
       EX-2              10/25/2011                  80                      4.5 J
       EX-2               6/14/2012                  85                       <10
       EX-2               12/6/2012                 NR*                       NR*
       EX-2                9/6/2013                 100                       NA
       EX-2            9/6/2013 (dup)               110                       NA
       EX-2               3/19/2014                  87                       NA
       EX-2           3/19/2014 (dup)                89                       NA
       EX-2               3/13/2015                  45                       NA
       EX-2               3/29/2016                  43                       NA
       EX-2               6/26/2017                  50                       NA
       EX-2           6/26/2017 (dup)                61                       NA

       EX-3              5/25/1993                  180                           <5
       EX-3               7/7/1993                  190                           <5
       EX-3              4/11/1994                  100                           <2
       EX-3              11/9/1994                  NA                            <2
       EX-3             12/16/1994                   60                           NA
       EX-3              4/6/1995                   70                            <2
       EX-3             10/26/1995                  30                            <2
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       EX-3               5/2/1996                  50                               <2
       EX-3             10/30/1996                  70                               <2
       EX-3              4/23/1997                  50                               <2
       EX-3             10/23/1997                  20                               <2
       EX-3              5/21/1998                  40                               <5
       EX-3             10/22/1998                  60                               <5
       EX-3              4/28/1999                  60                               <5
       EX-3             10/12/1999                  20                               <5
       EX-3              4/26/2000                  50                               <5
       EX-3              11/7/2000                  14                               <5
       EX-3              4/26/2001                  30                               <5
       EX-3             10/10/2001                  31                               <5
       EX-3              4/30/2002                  68                               <5
       EX-3              8/20/2002                  30                               <3
       EX-3              2/25/2003                  50                               <1
       EX-3               9/2/2003                  40                               6.9
       EX-3              2/19/2004                  40                               <3
       EX-3              8/25/2004                  40                               <3
       EX-3              3/27/2007                  26                             .92 J
       EX-3           3/27/2007 (dup)               27                             1.1 J
       EX-3              9/13/2007                  22                             .94 J
       EX-3           9/13/2007 (dup)               35                             1.2 J
       EX-3              4/24/2008                  23                               <2
       EX-3            4/24/08 (dup)                23                               <2
       EX-3              11/6/2008                  17                               <5
       EX-3              4/29/2009                  22                              <1.9
       EX-3              11/5/2009                  18                             8.3 J
       EX-3              4/22/2010                 5.9 J                           3.6 J
       EX-3             10/13/2010                 6.2 J                            ND
       EX-3              5/11/2011                  ND                              ND
       EX-3             10/25/2011                 4.0 J                           3.7 J
       EX-3              6/14/2012                 5.3 J                            <10
       EX-3              3/18/2013                  3.5                            3.5 J
       EX-3              8/19/2013                              Well Abandoned

       EX-4              5/25/1993                   98                              6
       EX-4               7/7/1993                  130                              <5
       EX-4               4/6/1995                  160                              <2
       EX-4             10/26/1995                   70                              <2
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       EX-4               5/2/1996                  110                              <2
       EX-4             10/30/1996                   70                              <2
       EX-4              4/23/1997                   80                              <2
       EX-4             10/23/1997                   50                               2
       EX-4              5/21/1998                   50                              <5
       EX-4             10/22/1998                   50                              <5
       EX-4              4/28/1999                   50                              <5
       EX-4             10/12/1999                   30                              <5
       EX-4              4/26/2000                   40                              <5
       EX-4              11/7/2000                   55                              <5
       EX-4              4/26/2001                   30                              <5
       EX-4             10/10/2001                   34                              <5
       EX-4              4/30/2002                   21                              5.3
       EX-4              8/20/2002                   40                              <3
       EX-4              2/25/2003                   10                              <1
       EX-4               9/2/2003                   20                              <5
       EX-4              2/19/2004                   30                              <3
       EX-4              3/27/2007                  2.2                              <2
       EX-4              9/13/2007                 1.3 J                            1.5 J
       EX-4              4/24/2008                  2.5                            0.86 J
       EX-4              11/6/2008                  <10                              <5
       EX-4              8/19/2013                              Well Abandoned

       EX-5              5/25/1993                  230                              <5
       EX-5               7/7/1993                  150                              <5
       EX-5              4/11/1994                  290                              <2
       EX-5              11/9/1994                  NA                               <2
       EX-5             12/16/1994                  630                              NA
       EX-5               4/6/2005                  560                              <2
       EX-5             10/26/1995                  190                              <2
       EX-5               5/2/1996                   80                              <2
       EX-5             10/30/1996                   70                              <2
       EX-5              4/23/1997                  100                              <2
       EX-5              11/5/1997                   90                               3
       EX-5              5/21/1998                   30                              <5
       EX-5             10/22/1998                   30                              <5
       EX-5              4/30/1999                   10                              <5
       EX-5             10/13/1999                   20                              <5
       EX-5              4/26/2000                   30                              <5
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       EX-5              11/7/2000                  19                               <5
       EX-5              4/26/2001                  17                               <5
       EX-5             10/10/2001                  11                               <5
       EX-5              4/30/2002                  12                               <5
       EX-5              8/20/2002                  10                               <3
       EX-5              2/25/2003                  <10                              <1
       EX-5               9/2/2003                  10                              6.4
       EX-5              2/19/2004                  10                               <3
       EX-5              8/25/2004                  30                               <3
       EX-5              3/27/2007                  2.8                             1 J
       EX-5              9/13/2007                  <2                             .60 J
       EX-5              4/24/2008                  5.4                              <2
       EX-5              11/6/2008                  <10                              <5
       EX-5              8/19/2013                              Well Abandoned

       EX-6               5/25/1993                 <10                              <5
       EX-6                7/7/1993                  13                              <5
       EX-6            7/7/1993 (dup)                17                              <5
       EX-6                4/4/1994                  70                              <2
       EX-6              12/16/1994                 170                              NA
       EX-6                4/6/1995                 160                              <2
       EX-6            4/6/1995 (dup)               160                               2
       EX-6              10/26/1995                  80                               2
       EX-6                5/2/1996                  70                              <2
       EX-6              10/30/1996                  60                              <2
       EX-6               4/23/1997                  60                              <2
       EX-6               11/5/1997                  20                               5
       EX-6               5/21/1998                  50                              <5
       EX-6              10/21/1998                  50                              <5
       EX-6               4/28/1999                 <10                              <5
       EX-6              10/12/1999                 <10                              <5
       EX-6               4/26/2000                 <10                              <5
       EX-6               11/4/2000                 1.2                              <5
       EX-6               4/26/2001                 2.6                              <5
       EX-6              10/10/2001                 <10                              <5
       EX-6               4/29/2002                 <1                               <5
       EX-6               8/20/2002                 2.3                              <3
       EX-6               2/25/2003                 <10                               1
       EX-6                9/2/2003                 <10                              <1
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       EX-6              2/19/2004                 <10                               <3
       EX-6              8/25/2004                  10                               <3
       EX-6              3/27/2007                 2.9                             1.2 J
       EX-6              9/13/2007                1.8 J                            .84 J
       EX-6              4/24/2008                 2.5                             1.3 J
       EX-6              11/7/2008                 <10                               <5
       EX-6              8/19/2013                              Well Abandoned

       EX-7              5/25/1993                   44                               <5
       EX-7               7/7/1993                   42                               <5
       EX-7               4/6/1994                  260                               <2
       EX-7           4/6/1994 (dup)                260                               <2
       EX-7              11/9/1994                  NA                                <2
       EX-7             12/16/1994                  260                               NA
       EX-7               4/6/1995                  200                               <2
       EX-7             10/26/1995                  170                               <2
       EX-7               5/3/1996                  130                               <2
       EX-7           5/3/1996 (dup)                130                               <2
       EX-7             10/30/1996                   60                               <2
       EX-7              4/23/1997                   80                               <2
       EX-7             10/23/1997                   70                                3
       EX-7              5/21/1998                   70                               <5
       EX-7           5/21/1998 (dup)                70                               <5
       EX-7             10/22/1998                   50                               <5
       EX-7              4/28/1999                  <10                               <5
       EX-7             10/12/1999                   20                               9.3
       EX-7              4/26/2000                   20                               <5
       EX-7              11/7/2000                   27                               <5
       EX-7              4/26/2001                   22                               <5
       EX-7             10/10/2001                   22                               <5
       EX-7              4/30/2002                  3.1                               <5
       EX-7              8/20/2002                  <10                               <3
       EX-7              2/25/2003                  <10                               <1
       EX-7               9/2/2003                   10                               <1
       EX-7              2/19/2004                  <10                               <3
       EX-7              8/25/2004                   10                               <3
       EX-7              3/27/2007                 1.1 J                             1.4 J
       EX-7              9/13/2007                  <2                              0.80 J
       EX-7              4/24/2008                 1.2 J                            0.85 J
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       EX-7              11/6/2008                5.8 J                            1.6 J
       EX-7              8/19/2013                              Well Abandoned

      EX-18A            10/26/1995                  160                                8
      EX-18A              5/2/1996                  340                               <2
      EX-18A            10/30/1996                  220                               <2
      EX-18A             5/20/1997                  300                                6
      EX-18A            10/23/1997                  300                               <2
      EX-18A             5/21/1998                  240                               <5
      EX-18A            10/22/1998                  250                               <5
      EX-18A             4/30/1999                  320                               <5
      EX-18A            10/12/1999                  360                               <5
      EX-18A             4/26/2000                  270                               <5
      EX-18A             11/7/2000                  290                               <5
      EX-18A             4/26/2001                  210                               <5
      EX-18A            10/10/2001                  200                               <5
      EX-18A             4/30/2002                  170                               <5
      EX-18A             8/21/2002                  220                               <3
      EX-18A             2/27/2003                   70                               <5
      EX-18A              9/2/2003                  110                               <1
      EX-18A             2/24/2004                   20                               <3
      EX-18A             8/25/2004                   90                               <3
      EX-18A             3/27/2007                   65                              1.1 J
      EX-18A             9/13/2007                   62                              1.4 J
      EX-18A             4/24/2008                   57                             0.90 J
      EX-18A             11/6/2008                   36                              2.4 J

        RW              3/21/2007                   4.4                              <2
        RW               9/12/2007                  4.6                             1.2 J
        RW               4/24/2008                  5.5                             1.5 J
        RW               11/7/2008                  <10                              <5
        RW               4/30/2009                 5.9 J                            <1.9
        RW               11/6/2009                 3.8 J                            5.1 J
        RW               2/10/2010                 4.4 J                            3.3 J
        RW               4/23/2010                 4.2 J                             <10
        RW              10/13/2010                 5.7 J                             ND
        RW               2/22/2011                 4.3 J                             <10
        RW               5/11/2011                 5.0 J                            2.8 J
        RW               8/23/2011                 6.3 J                             <10
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                            (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
        RW              10/25/2011                6.4 J                             2.6 J
        RW               4/27/2012                 <10                               <10
        RW              6/14/2012                 5.3 J                             4.0 J
        RW               8/28/2012                 <10                               <10
        RW              12/4/2012                  NS                                NS
        RW              4/27/2013                  NS                                NS
        RW               9/6/2013                  NS                                NS
        RW                                                     Pump Not Operational
        RW              11/22/2016                  <1.0                             <2.0
        RW                2/7/2017                   5.0                              2.2
        RW               6/27/2017                   4.0                             <2.0
        RW               9/26/2017                   3.1                             <2.0
        RW              11/14/2017                   3.4                              2.3

       RH-A              3/22/2007                  4.5                               <2
       RH-A              9/12/2007                  4.1                             0.49 J
       RH-A              4/24/2008                   5                                <2
       RH-A              11/7/2008                 3.5 J                              <5
       RH-A              4/30/2009                 5.9 J                             <1.8
       RH-A              11/6/2009                 <3.7                              4.1 J
       RH-A              2/10/2010                 <3.7                              3.4 J
       RH-A              4/22/2010                 4.6 J                              <10
       RH-A              7/28/2010                 5.2 J                             2.7 J
       RH-A             10/13/2010                 8.2 J                              ND
       RH-A              2/22/2011                 5.5 J                              <10
       RH-A              5/11/2011                 4.6 J                              ND
       RH-A              8/23/2011                 6.3 J                             1.9 J
       RH-A             10/25/2011                  <10                              4.0 J
       RH-A               4/5/2012                  <10                               <10
       RH-A              6/12/2012                 7.3 J                              <10
       RH-A              8/28/2012                  <10                              2.9 J
       RH-A              12/4/2012                  4.2                             4.9 JB
       RH-A              3/21/2013                  4.5                             1.8 JB
       RH-A               9/5/2013                 4.3 B                              NA
       RH-A             12/26/2013                  4.4                               1.2
       RH-A              3/20/2014                  4.2                               1.2
       RH-A              6/12/2014                  4.7                               1.0
       RH-A              9/24/2014                  4.2                                1
       RH-A             12/22/2014                  3.1                             0.90 J
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                                                  TABLE 3
                    HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                   WICKES FOREST INDUSTRIES
                                     147 "A" STREET, ELMIRA, CALIFORNIA
                      CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                          DISSOLVED HEXAVALENT                   DISSOLVED
     WELL                                    CHROMIUM (CrVI)                      ARSENIC
                     DATE SAMPLED
 IDENTIFICATION                                   (µg/l)                           (µg/l)
                                                MCL: 10 µg/l                     MCL: 10 µg/l
       RH-A              3/10/2015                 4.3                             0.87 J
       RH-A               6/3/2015                 4.8                             0.82 J
       RH-A              9/22/2015                 2.9                              <2.0
       RH-A              12/9/2016                 2.7                               2.1
       RH-A              3/30/2016                 3.7                              <2.0
       RH-A             11/22/2016                 3.6                              <2.0
       RH-A               2/7/2017                 3.3                              <2.0
       RH-A              6/27/2017                 3.7                              <2.0
       RH-A              9/26/2017                 4.2                              <2.0
       RH-A             11/14/2017                 4.1                               2.0

       MP-1              11/7/2008                  <10                                <5

       MP-2              3/21/2007                    2                                 <2
       MP-2              9/12/2007                    3                                 <2
       MP-2              4/24/2008                 0.83 J                               <2
       MP-2              11/7/2008                   <10                                <5
       MP-2              4/30/2009                  <3.0                               <1.9
       MP-2              11/6/2009                  <3.7                               4.8 J
       MP-2              2/10/2010                  <3.7                               <1.5
       MP-2              4/23/2010                   <10                              1.7 JB
       MP-2             10/13/2010                  5.4 J                               ND
       MP-2              2/22/2011                   <10                                <10
       MP-2              5/11/2011                   ND                                2.8 J
       MP-2              8/23/2011                   <10                               2.1 J
       MP-2             10/26/2011                   <10                                <10
       MP-2              4/27/2012                   <10                                <10
       MP-2              6/14/2012                   <10                                <10
       MP-2              8/28/2012                   <10                               3.0 J
       MP-2              12/6/2012                   1.2                                <10
       MP-2              3/21/2013                 0.27 J                               <10
       MP-2               6/6/2013                   ND                                 NA
       MP-2               9/5/2013                 <0.50                                NA
       MP-2             12/26/2013                 0.36 J                              <1.0
       MP-2              3/20/2014                  <0.5                               <1.0
       MP-2              6/12/2014                   2.7                               <1.0
       MP-2              9/24/2014                   1.8                               <1.0
       MP-2               3/1/2015                             Pump Not Operational
       MP-2              9/22/2015                  1.6                                <2.0
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                                                                TABLE 3
                         HISTORICAL LABORATORY ANALYSIS RESULTS - GROUNDWATER
                                        WICKES FOREST INDUSTRIES
                                            147 "A" STREET, ELMIRA, CALIFORNIA
                           CONTRACT NO. 14-T3962 AND WORK ORDER NO. 1-962-1.0-100164
                                                    DISSOLVED HEXAVALENT                                  DISSOLVED
     WELL                                                 CHROMIUM (CrVI)                                   ARSENIC
                          DATE SAMPLED
 IDENTIFICATION                                                 (µg/l)                                      (µg/l)
                                                              MCL: 10 µg/l                                MCL: 10 µg/l
          MP-2                  12/9/2016                        <1.0                                        <2.0
          MP-2                   3/30/216                        <1.0                                        <2.0
          MP-2                 11/22/2016                        <1.0                                        <2.0
          MP-2                   2/7/2017                        <1.0                                        <2.0
          MP-2                  6/27/2017                        <1.0                                        <2.0
          MP-2                  9/26/2017                        <1.0                                        <2.0
          MP-2                 11/14/2017                         2.4                                        <2.0




 Notes:

 * December 2012 result for EX-2 not shown because well box was partially flooded and reported Cr(VI) concentration was below
 reporting limits. Sample appeared to represent rain water rather than groundwater.
 µg/l = micrograms per liter (parts per billion)
 B = Flagged by the lab. Compound was found in the blank sample.
 J = Flagged by the lab. Estimated value. Result falls between the practical quantitation limit (PQL) and the   method detection limit
 (MDL).
 (U) = Flagged during data review. Result considered not-detected due to blank contamination.
 (dup) = duplicate sample
 MCL = Maximum Contaminant Level for drinking water established by EPA.
 NA = not analyzed
 ND, < = not detected above the MDL.
 NR = not reported
 NS = not sampled
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-1                                 Date: 11/16/2017
 Well Diameter: 2 in.                          Field Personnel: JAE/MK
 Casing Length: 16 feet                        Screened Casing Length: 6-16 feet
 Well Elevation 68.99 feet MSL measured from top of casing


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 6.73 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.51 Gal.                   Volumes Purged: 3.3
 Start Purging Time: 0932                      End Purging Time: 0935
 Total Time: 3 min.                            Flow Gauge:      to
 Total Volume Purged: 5 Gal.                   Avg. Flow Rate: 1.7 gpm
 Water Depth After Purging:        feet        Time:
 Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI
      TIME            TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                          (C)              (umhos/cm)
      0933                  21.3              1,564                  7.81             2
      0934                  22.8              1,381                  7.62             4
      0935                  22.6              1,545                  7.50             5


      0945                                                                         Sample


 Comments: Clear; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries          Project Number: S9850-03-14A

 Well No.: E-2                                   Date: 11/16/2017
 Well Diameter: 2 in.                            Field Personnel: JAE/MK
 Casing Length: 16 feet                          Screened Casing Length: 6-16 feet
 Well Elevation 69.76 feet MSL measured from top of casing


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 7.16 ft.            2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.44 Gal.                   Volumes Purged: 3.1
 Start Purging Time: 1013                        End Purging Time: 1016
 Total Time: 3 min.                              Flow Gauge:     to
 Total Volume Purged: 4.5 Gal.                   Avg. Flow Rate: 1.5 gpm
 Water Depth After Purging:        feet          Time:
 Dissolved Oxygen:          mg/l                 Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump                Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE           CONDUCTIVITY              pH         Gallons Purged
                          (C)                (umhos/cm)
      1014                  21.6                1,585                 7.68              2
      1015                  23.2                1,663                 7.53              3
      1016                                                                             4.5


      1025                                                                           Sample


 Comments: Low turbidity; silty; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-3                                 Date: 11/14/2017
 Well Diameter: 2 in.                          Field Personnel: JAE
 Casing Length: 16 feet                        Screened Casing Length: 6-16 feet
 Well Elevation 68.50 feet MSL measured from top of casing


                                 PURGE CHARACTERISTICS
 Water Depth Before Purging: 5.50 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                        Volumes Purged:
 Start Purging Time:                           End Purging Time:
 Total Time: min.                              Flow Gauge:      to
 Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
 Water Depth After Purging:      feet          Time:
 Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method:                               Sampling Method:
 Laboratory Analysis:
      TIME           TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                         (C)               (umhos/cm)




 Comments: Depth to water measurement only.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-4                                 Date: 11/20/2017
 Well Diameter: 2 in.                          Field Personnel: CD/MK
 Casing Length: 16 feet                        Screened Casing Length: 6-16 feet
 Well Elevation 69.56 feet MSL measured from top of casing


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 6.38 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.57 Gal.                   Volumes Purged: 3.2
 Start Purging Time: 1034                      End Purging Time: 1040
 Total Time: 6 min.                            Flow Gauge:      to
 Total Volume Purged: 5 Gal.                   Avg. Flow Rate: 0.8 gpm
 Water Depth After Purging:        feet        Time:
 Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                          (C)              (umhos/cm)
      1036                  19.5              468                    6.70             1
      1038                  21.7              590                    6.47             3
      1040                  21.5              676                    6.49             5


      1050                                                                         Sample


 Comments: Low turbidity; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-5                                 Date: 11/20/2017
 Well Diameter: 2 in.                          Field Personnel: CD/MK
 Casing Length: 16 feet                        Screened Casing Length: 6-16 feet
 Well Elevation 68.96 feet MSL measured from top of casing


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 5.67 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.69 Gal.                   Volumes Purged: 3.3
 Start Purging Time: 1048                      End Purging Time: 1054
 Total Time: 6 min.                            Flow Gauge:      to
 Total Volume Purged: 5.5 Gal.                 Avg. Flow Rate: 0.9 gpm
 Water Depth After Purging:        feet        Time:
 Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                          (C)              (umhos/cm)
      1050                  19.0              1,462                  6.73             2
      1052                  20.2              1,542                  6.68             4
      1054                  20.4              1,539                  6.81            5.5


      1105                                                                         Sample


 Comments: Low turbidity; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-6A                                Date: 11/20/2017
 Well Diameter: 2 in.                          Field Personnel: CD/MK
 Casing Length: 15.5 feet                      Screened Casing Length: 5-15 feet
 Well Elevation Not measured


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 6.51 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.47 Gal.                 Volumes Purged: 3.1
 Start Purging Time: 1120                      End Purging Time: 1124
 Total Time: 4 min.                            Flow Gauge:     to
 Total Volume Purged: 4.5 Gal.                 Avg. Flow Rate: 1.1 gpm
 Water Depth After Purging:        feet        Time:
 Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE         CONDUCTIVITY              pH         Gallons Purged
                          (C)              (umhos/cm)
      1122                  16.5              999                   7.09              2
      1123                  18.5              1,955                 6.88              3
      1124                  18.8              1,982                 6.90             4.5


      1135                                                                         Sample


 Comments: Low turbidity; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

 Well No.: E-6B                                Date: 11/20/2017
 Well Diameter: 2 in.                          Field Personnel: CD/MK
 Casing Length: 15.5 feet                      Screened Casing Length: 5-15 feet
 Well Elevation Not measured


                                   PURGE CHARACTERISTICS
 Water Depth Before Purging: 6.42 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: 1.48 Gal.                 Volumes Purged: 3.4
 Start Purging Time: 1134                      End Purging Time: 1138
 Total Time: 4 min.                            Flow Gauge:     to
 Total Volume Purged: 5 Gal.                   Avg. Flow Rate: 1.3 gpm
 Water Depth After Purging:        feet        Time:
 Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                              SAMPLING CHARACTERISTICS
 Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
 Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE         CONDUCTIVITY              pH         Gallons Purged
                          (C)              (umhos/cm)
      1136                                                                            2
      1137                                                                            3
      1138                                                                            5


      1150                                                                         Sample


 Comments: Low turbidity; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-7                                 Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 16 feet                        Screened Casing Length: 6-16 feet
  Well Elevation 70.47 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 7.09 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-15                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 70.93 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 7.52 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-17                                Date: 11/20/2017
  Well Diameter: 2 in.                          Field Personnel: CD/MK
  Casing Length: 21 feet                        Screened Casing Length: 11-21 feet
  Well Elevation 68.71 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.95 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.46 Gal.                   Volumes Purged: 3.0
  Start Purging Time: 0932                      End Purging Time: 0938
  Total Time: 6 min.                            Flow Gauge:      to
  Total Volume Purged: 7.5 Gal.                 Avg. Flow Rate: 1.3 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0934                  16.6              2,536                  6.65            2.5
       0936                  18.0              2,871                  6.30             5
       0938                  18.1              2,919                  6.39            7.5


       0950                                                                         Sample


 Comments: Low turbidity; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-18A                               Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 22 feet                        Screened Casing Length: 10-25 feet
  Well Elevation 67.87 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.43 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.70 Gal.                   Volumes Purged: 3.1
  Start Purging Time: 1051                      End Purging Time: 1056
  Total Time: 5 min.                            Flow Gauge:      to
  Total Volume Purged: 8.5 Gal.                 Avg. Flow Rate: 1.7 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       1052                  18.0              1,458                  7.69             3
       1054                  18.4              1,494                  7.50             5
       1056                  18.6              1,480                  7.50            8.5


       1105                                                                         Sample


 Comments: Turbid; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-19                                 Date: 11/14/2017
  Well Diameter: 2 in.                           Field Personnel: JAE
  Casing Length: 25 feet                         Screened Casing Length: 10-25 feet
  Well Elevation 68.47 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: ft.                2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: Gal.                        Volumes Purged:
  Start Purging Time:                            End Purging Time:
  Total Time: min.                               Flow Gauge:     to
  Total Volume Purged: Gal.                      Avg. Flow Rate: gpm
  Water Depth After Purging:      feet           Time:
  Dissolved Oxygen:        mg/l                  Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH         Gallons Purged
                          (C)              (umhos/cm)




 Comments: Well not accessible. Property owner has a mobile home parked over the well.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-20                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 25 feet                        Screened Casing Length: 10-25 feet
  Well Elevation 68.28 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.07 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 3.25 Gal.                   Volumes Purged: 3.1
  Start Purging Time: 1137                      End Purging Time: 1142
  Total Time: 5 min.                            Flow Gauge:      to
  Total Volume Purged: 10 Gal.                  Avg. Flow Rate: 2.0 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       1138                  19.4              1,379                  7.70             3
       1140                  20.1              1,410                  7.36             7
       1142                  20.2              1,447                  7.25            10


       1150                                                                         Sample


 Comments: Clear; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries           Project Number: S9850-03-14A

  Well No.: E-21                                   Date: 11/16/2017
  Well Diameter: 2 in.                             Field Personnel: JAE/MK
  Casing Length: 25 feet                           Screened Casing Length: 10-25 feet
  Well Elevation 68.16 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.91 ft.             2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 3.28 Gal.                    Volumes Purged: 3.0
  Start Purging Time: 1215                         End Purging Time: 1220
  Total Time: 5 min.                               Flow Gauge:     to
  Total Volume Purged: 10 Gal.                     Avg. Flow Rate: 2.0 gpm
  Water Depth After Purging:        feet           Time:
  Dissolved Oxygen:          mg/l                  Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump                Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY                 pH         Gallons Purged
                           (C)              (umhos/cm)
       1216                  18.2                188                    8.09             3.5
       1218                  19.1                416                    7.78              7
       1220                  19.2                849                    7.47             10


       1230                                                                            Sample


 Comments: Low turbidity; clear; slight sulfur odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries            Project Number: S9850-03-14A

  Well No.: E-22                                    Date: 11/20/2017
  Well Diameter: 2 in.                              Field Personnel: CD/MK
  Casing Length: 25 feet                            Screened Casing Length: 10-25 feet
  Well Elevation 67.88 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.75 ft.              2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 3.30 Gal.                     Volumes Purged: 3.0
  Start Purging Time: 0830                          End Purging Time: 0839
  Total Time: 9 min.                                Flow Gauge:     to
  Total Volume Purged: 10 Gal.                      Avg. Flow Rate: 1.1 gpm
  Water Depth After Purging:        feet            Time:
  Dissolved Oxygen:          mg/l                   Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump                 Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY                  pH         Gallons Purged
                           (C)              (umhos/cm)
       0833                  19.3                  400                   6.22             3.5
       0836                  19.8                  484                   6.60              7
       0839                  20.2                  557                   6.73             10


       0850                                                                             Sample


 Comments: Well went dry after purging, waited for recharge and sampled. Turbid.




 Duplicate E-73 collected at 0900 on 11/20/2017.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-23                                Date: 11/20/2017
  Well Diameter: 2 in.                          Field Personnel: CD/MK
  Casing Length: 25 feet                        Screened Casing Length: 10-25 feet
  Well Elevation 68.13 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.90 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 3.28 Gal.                   Volumes Purged: 3.0
  Start Purging Time: 0954                      End Purging Time: 1003
  Total Time: 9 min.                            Flow Gauge:      to
  Total Volume Purged: 10 Gal.                  Avg. Flow Rate: 1.1 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0957                  16.4              1,269                  7.10            3.5
       1000                  19.3              1,688                  6.58             7
       1003                  19.1              1,676                  6.56            10


       1015                                                                         Sample


 Comments: High turbidity; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-25                                Date: 11/16/2017
  Well Diameter: 6 in.                          Field Personnel: JAE/MK
  Casing Length: 40 feet                        Screened Casing Length: 5-35 feet
  Well Elevation 68.57 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.45 ft.          4 in. = .6528 Gal/ft. 6 in. = 1.47 Gal/ft.
  Calculated Water Column Volume: 50.79 Gal.                  Volumes Purged: 1.2
  Start Purging Time: 1209                      End Purging Time: 1242
  Total Time: 33 min.                           Flow Gauge:      to
  Total Volume Purged: 60 Gal.                  Avg. Flow Rate: 1.8 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                          (C)               (umhos/cm)
       1239                  17.7              1,394                  7.82             51
       1242                  18.0              1,349                  7.40             60




       1250                                                                         Sample


 Comments: Clear; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-28                                Date: 11/20/2017
  Well Diameter: 2 in.                          Field Personnel: CD/MK
  Casing Length: 13.5 feet                      Screened Casing Length: 3-13 feet
  Well Elevation 71.34 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 8.10 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 0.88 Gal.                   Volumes Purged: 3.4
  Start Purging Time: 1056                      End Purging Time: 1059
  Total Time: 3 min.                            Flow Gauge:      to
  Total Volume Purged: 3 Gal.                   Avg. Flow Rate: 1.0 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       1057                  17.7              1,267                  6.71             1
       1058                  18.8              476                    6.71             2
       1059                  18.9              427                    6.33             3


       1110                                                                         Sample


 Comments: Low turbidity; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-29                                Date: 11/20/2017
  Well Diameter: 2 in.                          Field Personnel: CD/MK
  Casing Length: 24 feet                        Screened Casing Length: 16-21 feet
  Well Elevation 68.10 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.04 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 3.09 Gal.                   Volumes Purged: 3.1
  Start Purging Time: 0915                      End Purging Time: 0921
  Total Time: 6 min.                            Flow Gauge:      to
  Total Volume Purged: 9.5 Gal.                 Avg. Flow Rate: 1.6 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0917                  15.9              1,891                  6.89             3
       0919                  17.7              1,826                  6.98             6
       0921                  17.6              1,910                  6.89            9.5


       0930                                                                         Sample


 Comments: Low turbidity; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-30A                               Date: 11/20/2017
  Well Diameter: 2 in.                          Field Personnel: CD/MK
  Casing Length: 15.5 feet                      Screened Casing Length: 5-15 feet
  Well Elevation Not measured


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 6.14 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 1.53 Gal.                 Volumes Purged: 3.3
  Start Purging Time: 1109                      End Purging Time: 1114
  Total Time: 5 min.                            Flow Gauge:     to
  Total Volume Purged: 5 Gal.                   Avg. Flow Rate: 1.0 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY              pH         Gallons Purged
                           (C)              (umhos/cm)
       1111                  16.7              1,203                 6.72              2
       1112                  18.2              1,500                 6.42              3
       1114                  18.8              1,504                 6.51              5


       1125                                                                         Sample


 Comments: Low turbidity; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries             Project Number: S9850-03-14A

  Well No.: E-31                                    Date: 11/16/2017
  Well Diameter: 5 in.                              Field Personnel: JAE/MK
  Casing Length: 23 feet                            Screened Casing Length: 17.5-22.5 feet
  Well Elevation 68.12 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.15 ft.              4 in. = .6528 Gal/ft. 5 in. = 1.02 Gal/ft.
  Calculated Water Column Volume: 18.21 Gal.                    Volumes Purged: 3.0
  Start Purging Time: 1324                          End Purging Time: 1359
  Total Time: 35 min.                               Flow Gauge:     to
  Total Volume Purged: 55 Gal.                      Avg. Flow Rate: 1.6 gpm
  Water Depth After Purging:        feet            Time:
  Dissolved Oxygen:          mg/l                   Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump                  Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY                  pH         Gallons Purged
                          (C)               (umhos/cm)
       1335                  19.1                  1,041                 7.96              18
       1347                  19.8                  1,038                 7.41              36
       1359                  19.7                  1,404                 7.28              55


       1405                                                                             Sample


 Comments: Low turbidity; no odor.




 Duplicate E-72 collected at 1350 on 11/16/2017.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-32                                Date: 11/16/2017
  Well Diameter: 5 in.                          Field Personnel: JAE/MK
  Casing Length: 42 feet                        Screened Casing Length: 32-42 feet
  Well Elevation 68.22 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.28 ft.           4 in. = .6528 Gal/ft. 5 in. = 1.02 Gal/ft.
  Calculated Water Column Volume: 37.45 Gal.                  Volumes Purged: 1.5
  Start Purging Time: 1227                      End Purging Time: 1303
  Total Time: 36 min.                           Flow Gauge:      to
  Total Volume Purged: 55 Gal.                  Avg. Flow Rate: 1.5 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:          inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                          (C)               (umhos/cm)
       1253                  19.9              1,252                  7.35             38
       1303                  18.3              1,535                  7.32             55




       1310                                                                         Sample


 Comments: Low turbidity; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-33                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 56 feet                        Screened Casing Length: 52-56 feet
  Well Elevation 68.00 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.05 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 8.32 Gal.                   Volumes Purged: 3.0
  Start Purging Time: 1325                      End Purging Time: 1340
  Total Time: 15 min.                           Flow Gauge:      to
  Total Volume Purged: 25 Gal.                  Avg. Flow Rate: 1.7 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                          (C)               (umhos/cm)
       1330                  17.9              970                    7.85            8.5
       1335                  18.8              1,008                  7.53            17
       1340                  18.3              1,039                  7.38            25


       1355                                                                         Sample


 Comments: Turbid: no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-34                                 Date: 11/20/2017
  Well Diameter: 5 in.                           Field Personnel: CD/MK
  Casing Length: 25 feet                         Screened Casing Length: 9.25-24.25 feet
  Well Elevation 67.42 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.30 ft.           2 in. = .1632 Gal/ft. 5 in. = 1.02 Gal/ft.
  Calculated Water Column Volume: 21.11 Gal.                  Volumes Purged: 2.8
  Start Purging Time: 0952                       End Purging Time: 1022
  Total Time: 30 min.                            Flow Gauge:      to
  Total Volume Purged: 60 Gal.                   Avg. Flow Rate: 2.0 gpm
  Water Depth After Purging:        feet         Time:
  Dissolved Oxygen:          mg/l                Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY                pH        Gallons Purged
                          (C)               (umhos/cm)
       1002                  18.3               695                    6.98             20
       1012                  20.0               731                    6.60             40
       1022                  20.1               705                    6.55             60


       1030                                                                          Sample


 Comments: Low turbidity; sulfur odor. Well needs a 5-inch cap.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-35                                Date: 11/14/2017
  Well Diameter: 5 in.                          Field Personnel: JAE
  Casing Length: 59 feet                        Screened Casing Length: 46.25-56.25 feet
  Well Elevation 67.57 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.95 ft.          2 in. = .1632 Gal/ft. 5 in. = 1.02 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-36                                Date: 11/20/2017
  Well Diameter: 5 in.                          Field Personnel: CD/MK
  Casing Length: 43 feet                        Screened Casing Length: 38-43 feet
  Well Elevation 67.68 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.60 ft.          2 in. = .1632 Gal/ft. 5 in. = 1.02 Gal/ft.
  Calculated Water Column Volume: 39.17 Gal.                  Volumes Purged: 2.0
  Start Purging Time: 0834                      End Purging Time: 0905
  Total Time: 31 min.                           Flow Gauge:      to
  Total Volume Purged: 80 Gal.                  Avg. Flow Rate: 2.6 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME            TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                          (C)               (umhos/cm)
       0845                  19.7              1,877                  6.56             28
       0855                  19.6              1,972                  6.63             56
       0905                  19.7              1,948                  6.49             80


       0915                                                                         Sample


 Comments: Low turbidity; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-37                                Date: 11/14/2017
  Well Diameter: 5 in.                          Field Personnel: JAE
  Casing Length: 55 feet                        Screened Casing Length: 49.5-54.5 feet
  Well Elevation 67.54 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.38 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-40                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 18 feet                        Screened Casing Length: 8-18 feet
  Well Elevation 66.77 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.65 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.18 Gal.                   Volumes Purged: 3.2
  Start Purging Time: 1123                      End Purging Time: 1126
  Total Time: 3 min.                            Flow Gauge:      to
  Total Volume Purged: 7 Gal.                   Avg. Flow Rate: 2.3 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       1124                  19.2              1,215                  7.67            2.5
       1125                  21.4              1,240                  7.41             5
       1126                  21.9              1,268                  7.28             7


       1135                                                                         Sample


 Comments: Turbid; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-41                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 24 feet                        Screened Casing Length: 9-24 feet
  Well Elevation 68.05 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.14 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-42                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 69.23 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 6.74 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.00 Gal.                   Volumes Purged: 3.3
  Start Purging Time: 0918                      End Purging Time: 0922
  Total Time: 4 min.                            Flow Gauge:      to
  Total Volume Purged: 6.5 Gal.                 Avg. Flow Rate: 1.6 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0919                  18.6              1,216                  8.02             2
       0920                  22.5              1,090                  7.75             4
       0922                  23.0              1,069                  7.65            6.5


       0930                                                                         Sample


 Comments: Clear; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-43                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 68.72 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.57 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-44                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 68.92 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.97 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.13 Gal.                   Volumes Purged: 3.1
  Start Purging Time: 1024                      End Purging Time: 1028
  Total Time: 4 min.                            Flow Gauge:      to
  Total Volume Purged: 6.5 Gal.                 Avg. Flow Rate: 1.6 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       1025                  19.7              1,407                  7.69             2
       1026                  21.5              1,485                  7.48             4
       1028                  21.9              1,493                  7.47            6.5


       1035                                                                         Sample


 Comments: Clear; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-45                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 20 feet                        Screened Casing Length: 10-20 feet
  Well Elevation 68.63 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.42 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries        Project Number: S9850-03-14A

  Well No.: E-46                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 68.97 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 6.29 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                              Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-47                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 19 feet                        Screened Casing Length: 9-19 feet
  Well Elevation 68.45 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.65 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.18 Gal.                   Volumes Purged: 3.2
  Start Purging Time: 0946                      End Purging Time: 0950
  Total Time: 4 min.                            Flow Gauge:      to
  Total Volume Purged: 7 Gal.                   Avg. Flow Rate: 1.8 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0947                  22.2              1,637                  7.81            2.5
       0948                  22.6              1,665                  7.58             5
       0950                  22.5              1,666                  7.52             7


       0955                                                                         Sample


 Comments: Clear; no odor.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries             Project Number: S9850-03-14A

  Well No.: E-49                                    Date: 11/16/2017
  Well Diameter: 2 in.                              Field Personnel: JAE/MK
  Casing Length: 18.5 feet                          Screened Casing Length: 8.5-18.5 feet
  Well Elevation 68.92 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.90 ft.              2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.06 Gal.                     Volumes Purged: 3.2
  Start Purging Time: 1036                          End Purging Time: 1039
  Total Time: 3 min.                                Flow Gauge:     to
  Total Volume Purged: 6.5 Gal.                     Avg. Flow Rate: 2.2 gpm
  Water Depth After Purging:        feet            Time:
  Dissolved Oxygen:          mg/l                   Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump                  Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME             TEMPERATURE         CONDUCTIVITY                  pH         Gallons Purged
                           (C)              (umhos/cm)
       1037                  20.1                  1,191                 7.78               2
       1038                  21.4                  1,207                 7.58               4
       1039                  21.9                  1,218                 7.56             6.5


       1045                                                                             Sample


 Comments: Clear; no odor. With foam.




 Duplicate E-70 collected at 1055 on 11/16/2017.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-50                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 48 feet                        Screened Casing Length: 40.5-45.5 feet
  Well Elevation 67.67 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.82 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-51                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 18.5 feet                      Screened Casing Length: 8-18 feet
  Well Elevation 68.51 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.90 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.06 Gal.                   Volumes Purged: 3.2
  Start Purging Time: 0904                      End Purging Time: 0908
  Total Time: 4 min.                            Flow Gauge:      to
  Total Volume Purged: 6.5 Gal.                 Avg. Flow Rate: 1.6 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY               pH        Gallons Purged
                           (C)              (umhos/cm)
       0905                  19.1              958                    7.94             2
       0906                  21.7              1,290                  7.73             4
       0908                  20.0              1,347                  7.60            6.5


       0915                                                                         Sample


 Comments: Clear; no odor.
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                      MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-55                                Date: 11/16/2017
  Well Diameter: 2 in.                          Field Personnel: JAE/MK
  Casing Length: 45 feet                        Screened Casing Length: 39.5-44.5 feet
  Well Elevation 68.04 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.55 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 6.44 Gal.                   Volumes Purged: 3.0
  Start Purging Time: 0956                      End Purging Time: 1006
  Total Time: 10 min.                           Flow Gauge:      to
  Total Volume Purged: 19.5 Gal.                Avg. Flow Rate: 2.0 gpm
  Water Depth After Purging:        feet        Time:
  Dissolved Oxygen:          mg/l               Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump              Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI
      TIME            TEMPERATURE          CONDUCTIVITY               pH        Gallons Purged
                          (C)               (umhos/cm)
       0959                  21.7              1,228                  8.36             6
       1002                  21.0              1,175                  8.24            13
       1006                  21.0              1,201                  7.54           19.5


       1010                                                                         Sample


 Comments: Clear; no odor.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-57                                Date: 11/14/2017
  Well Diameter: 4 in.                          Field Personnel: JAE
  Casing Length: 20 feet                        Screened Casing Length: 10-20 feet
  Well Elevation 68.07 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.53 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-59                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 20 feet                        Screened Casing Length: 10-20 feet
  Well Elevation 69.57 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 6.58 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: E-61                                Date: 11/14/2017
  Well Diameter: 2 in.                          Field Personnel: JAE
  Casing Length: 64 feet                        Screened Casing Length: 58-64 feet
  Well Elevation 69.94 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.95 ft.          2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
 Calculated Water Column Volume: Gal.                         Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                       MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries             Project Number: S9850-03-14A

  Well No.: E-62                                    Date: 11/16/2017
  Well Diameter: 2 in.                              Field Personnel: JAE/MK
  Casing Length: 20 feet                            Screened Casing Length: 10-20 feet
  Well Elevation 66.64 feet MSL measured from top of casing


                                    PURGE CHARACTERISTICS
  Water Depth Before Purging: 4.41 ft.              2 in. = .1632 Gal/ft. 4 in. = .6528 Gal/ft.
  Calculated Water Column Volume: 2.54 Gal.                     Volumes Purged: 3.1
  Start Purging Time: 1106                          End Purging Time: 1110
  Total Time: 4 min.                                Flow Gauge:     to
  Total Volume Purged: 8 Gal.                       Avg. Flow Rate: 2.0 gpm
  Water Depth After Purging:        feet            Time:
  Dissolved Oxygen:          mg/l                   Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method: Submersible Pump                  Sampling Method: Disposable Bailer
  Laboratory Analysis:   CrVI, Arsenic
      TIME             TEMPERATURE         CONDUCTIVITY                  pH         Gallons Purged
                           (C)              (umhos/cm)
       1107                  19.4                  1,841                 7.80              3
       1108                  20.6                  1,724                 7.54              6
       1110                  20.7                  1,741                 7.33              8


       1120                                                                             Sample


 Comments: Clear; no odor.




 Duplicate E-71 collected at 1130 on 11/16/2017.
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                        MONITORING WELL SAMPLING DATA

 Project Name: Wickes Forest Industries         Project Number: S9850-03-14A

  Well No.: EX-2                                Date: 11/14/2017
  Well Diameter: 5 in.                          Field Personnel: JAE
  Casing Length: 24 feet                        Screened Casing Length: 14.5-24.5* feet
  Well Elevation 68.05 feet MSL measured from top of casing


                                  PURGE CHARACTERISTICS
  Water Depth Before Purging: 5.04 ft.          4 in. = .6528 Gal/ft. 5 in. = 1.02 Gal/ft.
  Calculated Water Column Volume: Gal.                        Volumes Purged:
  Start Purging Time:                           End Purging Time:
  Total Time: min.                              Flow Gauge:      to
  Total Volume Purged: Gal.                     Avg. Flow Rate: gpm
  Water Depth After Purging:      feet          Time:
  Dissolved Oxygen:        mg/l                 Free Product: (Y/N); Thickness:         inches


                               SAMPLING CHARACTERISTICS
  Purging Method:                               Sampling Method:
  Laboratory Analysis:
      TIME            TEMPERATURE         CONDUCTIVITY                pH        Gallons Purged
                          (C)              (umhos/cm)




 Comments: Depth to water measurement only.
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                                          APPENDIX                          B
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
              


                                                     
                                                                          



























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           
Page 2 of 6                                                                                                                                     

                                                          
                                                                 
                                                                      

                                       


                                                               
                                                                                                



                                                                         



                                                                         



                                                                         




                                              

                                                            
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           
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                                                          
                                                                 
                                                                      

                                                 


                                                               
                                                                                                 



                                                                                                 



                                                                                                 



                                                                                                  




                                              

                                                             
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            
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                                                          
                                                           
                                                                

                                 


                                                                                                                   
                                                                                                 


                                                                 
                                           

                                                                    
                                                                        

                                                               
                                                                                     

                                         
                                                                       

                                    
                                                                                   




                                             

                                                        
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                                                        
                                                          
                                                               

                                     


                                                                                                                 
                                                                                               


                                                               
                                                                

                                                                  
                                                                                              

                                       
                                                                                          

                                       
                                                                                            




                                           

                                                      
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          
Page 6 of 6                                                                                                                                  

                                                                 
                                                              
                                                                   

                                                                       
         

          

          

           

         




                                                      

                                                        
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
              


                                                     
                                                                               



























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           
Page 2 of 10                                                                                                                                      

                                                           
                                                                        
                                                                       

                                        


                                                                
                                                                                                  



                                                                            



                                                                            



                                                                            



                                                                           



                                                                            



                                                                           



                                                                           



                                                                            



                                                                           




                                               

                                                              
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           
Page 3 of 10                                                                                                                                      

                                                           
                                                                        
                                                                       

                                        


                                                                 
                                                                                                  



                                                                           



                                                                           



                                                                            



                                                                           



                                                                           



                                                                            



                                                                            



                                                                            



                                                                            




                                               

                                                              
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           
Page 4 of 10                                                                                                                                      

                                                           
                                                                        
                                                                       

                                        


                                                                
                                                                                                  



                                                                            



                                                                           



                                                                           



                                                                           



                                                                            



                                                                            



                                                                            




                                               

                                                              
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           
Page 5 of 10                                                                                                                                      

                                                           
                                                                        
                                                                       

                                                  


                                                                 
                                                                                                  



                                                                                                   



                                                                                                   



                                                                                                  



                                                                                                   



                                                                                                   



                                                                                                          



                                                                                                  



                                                                                                   



                                                                                                  




                                               

                                                              
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           
Page 6 of 10                                                                                                                                      

                                                           
                                                                        
                                                                       

                                                  


                                                                
                                                                                                  



                                                                                                  



                                                                                                   



                                                                                                          



                                                                                                  



                                                                                                  



                                                                                                          



                                                                                                          



                                                                                                           




                                               

                                                              
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            
Page 7 of 10                                                                                                                                

                                                          
                                                                 
                                                                

                                 


                                                                                                                   
                                                                                                 


                                                                 
                                           

                                                                    
                                                                         

                                                               
                                                                                      

                                         
                                                                    

                                    
                                                                                  



                                                                 
                                           

                                                                    
                                                                         

                                                               
                                                                                      

                                         
                                                                    




                                             

                                                        
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            
Page 8 of 10                                                                                                                                

                                                          
                                                                 
                                                                

                                 


                                                                                                                   
                                                                                                 


                                    
                                                                                 




                                             

                                                        
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           
Page 9 of 10                                                                                                                               

                                                        
                                                                
                                                               

                                     


                                                                                                                  
                                                                                                


                                                               
                                                                

                                                                  
                                                                                              

                                       
                                                                                                                           

                                       
                                                                                           

                                  
                                                                                                         

                                  
                                                                                                       




                                           

                                                       
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          
Page 10 of 10                                                                                                                                

                                                                 
                                                                    
                                                                   

                                                                       
        
            

       

         

          

          

          

         




                                                     

                                                        
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
              


                                                     
                                                                          



























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           
Page 2 of 8                                                                                                                                  

                                                           
                                                           
                                                                

                                        


                                                                
                                                                                             



                                                                      



                                                                      



                                                                       



                                                                       



                                                                       



                                                                      



                                                                      



                                                                      



                                                                       




                                               

                                                         
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           
Page 3 of 8                                                                                                                                 

                                                           
                                                           
                                                                

                                        


                                                                
                                                                                            



                                                                      



                                                                     



                                                                     



                                                                     




                                               

                                                        
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           
Page 4 of 8                                                                                                                                  

                                                           
                                                           
                                                                

                                                  


                                                                
                                                                                             



                                                                                             



                                                                                             



                                                                                              



                                                                                             



                                                                                             



                                                                                             



                                                                                             



                                                                                              



                                                                                             




                                               

                                                         
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           
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                                                          
                                                          
                                                               

                                                 


                                                                
                                                                                           



                                                                                            



                                                                                           




                                               

                                                       
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            
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                                                          
                                                          
                                                               

                                 


                                                                                                                   
                                                                                                 


                                                                 
                                           

                                                                    
                                                                        

                                                               
                                                                                     

                                         
                                                                    

                                    
                                                                               




                                             

                                                        
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           
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                                                        
                                                        
                                                             

                                     


                                                                                                                  
                                                                                                


                                                                
                                                                

                                                                   
                                                                                                

                                        
                                                                                            

                                        
                                                                                            

                                   
                                                                                                         




                                           

                                                       
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          
Page 8 of 8                                                                                                                                    

                                                                 
                                                                 
                                                                      

                                                                       
         

          

          

           

         




                                                      

                                                          
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                                        APPENDIX C
                              DATA QUALITY ASSESSMENT REPORT

           SEMI-ANNUAL GROUNDWATER MONITORING REPORT – NOVEMBER 2017
                             WICKES FOREST INDUSTRIES
                        147 “A” STREET, ELMIRA, CALIFORNIA
              CONTRACT NO. 14-T3962 A-1, WORK ORDER NO. 1-962-1.2-100164



C.1     Data Quality Assessment

A total of 36 water samples (32 field samples and 4 field duplicate quality control [QC] samples) were
collected on November 14, 16, and 20, 2017, at the Wickes Forest Industries site. The samples were
submitted to California Laboratory Services, Inc. in Rancho Cordova, California, for analysis of dissolved
hexavalent chromium by EPA Method 218.6 and dissolved arsenic by EPA Method 200.8 and analyzed in
three sample delivery groups. Upon receipt of the analytical reports, the data was reviewed for
completeness, compliance with the laboratory contract scope of work and the Sampling and Analysis Plan
(Geocon, 2015).

The field QC sample consisted of four field duplicate sample pairs. The laboratory QC samples consisted of
method blanks, laboratory control samples (LCSs), matrix spikes (MS), and MS duplicates (MSDs). Upon
receipt of the analytical reports, the data were reviewed for completeness and compliance with the
laboratory control limits.

C.1.1 Laboratory Quality Control Results

This project requires the following laboratory QC analyses at a minimum for EPA Methods 200.8 and 218.6
analyses: one for every 20 samples (5 percent). Tables C1 and C2 summarize the frequency and results of
the laboratory QC and the impact of QC outliers on project data.

TABLE C1: Summary of Laboratory Quality Control Samples (EPA Method 218.6)
                   Total Number       Frequency                          Summary of
Number of QC                                             Frequency                          Impact on
                    of Primary       Performed by                        Data Quality
  Samples                                               Requirement                       Project Samples
                     Samples              Lab                               Issues
Method Blanks
       4                  32               13%                5%             None              None
Laboratory Control Samples/Laboratory Control Samples Duplicates
       4                  32               13%                5%             None              None
Matrix Spike/Matrix Spike Duplicates
                                                                                          None. The batch
                                                                         Spike recovery
                                                                                           was accepted
                                                                          was outside
       4                32                13%               5%                               based on
                                                                           acceptance
                                                                                          acceptable LCS
                                                                             limits
                                                                                             recovery
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TABLE C2: Summary of Laboratory Quality Control Samples (EPA Method 200.8)
                    Total Number       Frequency                          Summary of
Number of QC                                             Frequency                           Impact on
                     of Primary       Performed by                        Data Quality
  Samples                                               Requirement                        Project Samples
                      Samples              Lab                               Issues
Method Blank
       3                  23               13%                5%              None              None
Laboratory Control Samples/Laboratory Control Samples Duplicates
       3                  23               13%                5%              None              None
Matrix Spike/Matrix Spike Duplicates
       3                  23               13%                5%              None              None


C.1.2 Field Quality Control Results

Four field duplicate sample pairs were analyzed for dissolved hexavalent chromium and three field duplicate
pairs were analyzed for dissolved arsenic. With the exception of the dissolved hexavalent chromium
concentration reported for duplicate sample E-72, field duplicate results indicated acceptable precision.
Table C3 summarizes the frequency and results of these field QC samples. Table C4 shows a comparison of
the field duplicate results.

TABLE C3: Summary of Field Quality Control Samples
  Number of
                 Total Number         Frequency of                        Summary of
  Field QC                                               Frequency                            Impact on
                  of Primary          QC Samples                          Data Quality
   Samples                                              Requirement                            Samples
                   Samples             Collected                             Issues
  Collected
EPA Method 218.6
      4                32                 13%               10%               None              None
EPA Method 200.8
      3                23                 13%               10%               None              None


TABLE C4: Summary of Field Duplicate Results
                                                                             Duplicate         Relative
    Sample ID:             Date                         Primary Result
                                          Analyte                             Result           Percent
 Primary/Duplicate       Collected                          (µg/l)
                                                                              (µg/l)          Difference
                                          Cr(VI)             2.1               2.5                17
      E-22 / E-73        11/20/2017
                                          Arsenic             2.3              2.2                 4
                                          Cr(VI)             <1.0              <1.0                0
      E-31 / E-72       11/16//2017
                                          Arsenic             2.3              <2.0               78
                                          Cr(VI)             <1.0              <1.0                0
      E-62 / E-71        11/16/2017
                                          Arsenic             3.8              3.9                 3
      E-49 / E-70        11/16/2017       Cr(VI)              6.4               5.4               17



C.2     Summary of Data Quality

The data are 98 percent complete and meet the completeness objective of 95 percent.
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